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                      UNITED STATES BANKRUPTCY COURT FOR THE
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                          §           BANKRUPTCY CASE NO.
                                                §
HOUSTON PLATE PROCESSING, INC.                  §           17-30603-H5-11
                                                §
DEBTOR                                          §           Chapter 11

             DEBTOR’S (CORRECTED) AMENDED DISCLOSURE STATEMENT
                         (to only correct Working Ox treatment)


I.     INTRODUCTION

       This is the disclosure statement (the “Disclosure Statement”) in the chapter 11 case of Houston
Plate Processing, Inc. (the Debtor). This Disclosure Statement contains information about the Debtor
and describes the Plan of Reorganization (the “Plan”) filed by the Debtor. A full copy of the Plan is
attached to this Disclosure Statement as Exhibit “A”. Your rights may be affected. You should read
the Plan and this Disclosure Statement carefully and discuss them with your attorney. If you do not
have an attorney, you may wish to consult one.

       The proposed distributions under the Plan are discussed in this Disclosure Statement.

       A.      Purpose of This Document

       This Disclosure Statement describes:

       .       The Debtor and significant events during the bankruptcy case,
       .       How the Plan proposes to treat claims or equity interests of the type you hold (i.e., what
               you will receive on your claim or equity interest if the plan is confirmed),
       .       Who can vote on or object to the Plan,
       .       What factors the Bankruptcy Court (the “Court”) will consider when deciding whether to
               confirm the Plan,
       .       Why the Debtor believes the Plan is feasible, and how the treatment of your claim or
               equity interest under the Plan compares to what you would receive on your claim or equity
               interest in liquidation, and
       .       The effect of confirmation of the Plan.

        Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement describes
the Plan, but it is the Plan itself that will, if confirmed, establish your rights.
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       B.      Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

       The Court has not yet confirmed the Plan described in this Disclosure Statement. This section
describes the procedures pursuant to which the Plan will or will not be confirmed.

               1.      Time and Place of the Hearing to Finally Approve This Disclosure Statement and
                       Confirm the Plan

        The hearing at which the Court will determine whether to finally approve this Disclosure
Statement and confirm the Plan will take place on ________________ at _____ _.m., in Courtroom 403
at the United States Courthouse, 515 Rusk Avenue, Houston, Texas 77002.

               2.      Deadline for Voting to Accept or Reject the Plan

        If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and return the
ballot by mail to counsel for the Debtor, Margaret M. McClure, Attorney at Law, 909 Fannin, Suite
3810, Houston, Texas 77010, by email to counsel, margaret@mmmcclurelaw.com, or by facsimile to
counsel, (713) 658-0334.

       Your ballot must be received by ___________________ at 5:00 p.m. or it will not be counted.

               3.      Deadline for Objecting to the Adequacy of Disclosure and Confirmation of the
                       Plan

       Objections to this Disclosure Statement or to the confirmation of the Plan must be filed with the
Court and served upon the Debtor and its counsel by __________, 2017 at 5:00 p.m.

               4.      Identity of Person to Contact for More Information

       If you want additional information about the Plan, you should contact Margaret M. McClure,
Attorney at Law, 909 Fannin, Suite 3810, Houston, Texas 77010.

       C.      Disclaimer

      The Court has conditionally approved this Disclosure Statement as containing adequate
information to enable parties affected by the Plan to make an informed judgment about its terms.

        The Court has not yet determined whether the Plan meets the legal requirements for
confirmation, and the fact that the Court has approved this Disclosure Statement does not constitute
an endorsement of the Plan by the Court, or a recommendation that it be accepted. The Court’s
approval of this Disclosure Statement is subject to final approval at the hearing on confirmation of
the Plan. Objections to the adequacy of this Disclosure Statement may be filed until __________, 2017
at 5:00 p.m.
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II.       BACKGROUND

          A.      Description and History of the Debtor’s Business

        See the Debtor’s narrative, which is attached as Exhibit “B” for a discussion of the description
and history of the Debtor’s business.

          B.      Management of the Debtor before and During the Bankruptcy

      Mr. and Mrs. Jeremy Thompson manage the Debtor, and managed the Debtor prior to the
bankruptcy.

        During the two years prior to the date on which the bankruptcy petition was filed, the officers
and owners were the same as they are presently. After the effective date of the order confirming the Plan,
with the cancelation of some of the equity interest in the Reorganized Debtor as set out below the officers
will remain the same but the ownership will change.

          C.      Events Leading to Chapter 11 Filing and Significant Events during the Bankruptcy
                  Case

        See the Debtor’s narrative, which is attached as Exhibit “B” for a discussion of the events leading
to the Chapter 11 filing and significant events during the bankruptcy case.

          D.      Absolute Priority Rule

        The “absolute priority rule” is the rule that states that the holder of any claim or interest that is
junior to the claims of an impaired unsecured class of creditors will not receive or retain under the plan
on account of their junior claim or interest any property unless the allowed claims in the impaired
unsecured class of creditors support the Plan.

          E.      Projected Recovery of Avoidable Transfers and Lawsuits

          The Debtor does not believe there are any preference actions or fraudulent transfer actions to
pursue.

          F.    Claims Objections

        Except to the extent that a claim is already allowed pursuant to a final non-appealable order, the
Debtor reserves the right to object to claims. Therefore, even if your claim is allowed for voting purposes,
you may not be entitled to a distribution if an objection to your claim is later upheld. The procedures
for resolving disputed claims are set forth in the Plan. If necessary, objections to claims will be filed
within 60 days after the Effective Date of the Plan.

III. SUMMARY OF THE PLAN OF REORGANIZATION AND TREATMENT OF CLAIMS
AND EQUITY INTERESTS
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       A.      What is the Purpose of the Plan of Reorganization?

        As required by the Code, the Plan places claims and equity interests in various classes and
describes the treatment each class will receive. The Plan also states whether each class of claims or
equity interests is impaired or unimpaired. If the Plan is confirmed, your recovery will be limited to the
amount provided by the Plan.

       B.      Unclassified Claims

         Certain types of claims are automatically entitled to specific treatment under the Code. They are
not considered impaired, and holders of such claims do not vote on the Plan. They may, however, object
if, in their view, their treatment under the Plan does not comply with that required by the Code.

               1.      Administrative Expenses

        Administrative expenses are costs or expenses of administering the Debtor’s chapter 11 case
which are allowed under § 507(a)(2) of the Code. Administrative expenses also include the value of any
goods sold to the Debtor in the ordinary course of business and received within 20 days before the date
of the bankruptcy petition. The Code requires that all administrative expenses be paid on the effective
date of the Plan, unless a particular claimant agrees to a different treatment. The following chart lists
the Debtor’s estimated administrative expenses, and their proposed treatment under the Plan:

Margaret M. McClure – Ms. McClure holds a remaining retainer balance in the amount of $16,536.20
and estimates fees and expenses in the amount of $40,000.00.

U.S. Trustee – fees are current and will stay current until this case is closed.

Texas Development Company – This administrative creditor will be paid additional rents in the amount
of $7,500.00 per month beginning November 1, 2017, for eight months and the ninth payment in the
amount of $3,130.00. These additional rents are in lieu of the lump sum payment of additional rents in
the amount of $63,130.00 as set out in Second Lease Amendment which payment was due on or about
the Effective Date of the Plan as referenced in the Court’s order of April 5, 2017 (docket no. 43).

               2.      Priority Unsecured Tax Claims

       None

               3.      Secured Claims

        Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy estate (or
that are subject to set-off) to the extent allowed as secured claims under § 506 of the Code. If the value
of the collateral or setoffs securing the creditor’s claim is less than the amount of the creditor’s allowed
claim the deficiency will be classified as a general unsecured claim. The following chart lists all classes
containing Debtor’s secured pre-petition claims and their proposed treatment under the Plan:
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Class 3(a) – Convenience Class

Hilti, Inc. – This secured creditor is owed $454.00 and will be paid in full on the Effective Date of the
Plan as a convenience since it is owed so little.

Class 3(b) – Taxing Authorities

Harris County, et al. – This creditor is owed $24,093.11 for ad valorem taxes. It will be paid in full
pursuant to the requirements of the United States Bankruptcy Code or in 60 months if this creditor agrees,
with the first monthly payment being due and payable on the 15th day of the 1st month following 60 days
after the Effective Date of the Plan. It will be paid the applicable non-bankruptcy rate of interest as
provided under 11 U.S.C. 511. The monthly payment will be approximately $536.00. This creditor shall
retain all liens it currently holds, whether for pre-petition tax years or for the current tax year, on any
property of the Debtor until it receives payment in full of all taxes and interest owed to it under the
provisions of this Plan, and its lien position shall not be diminished or primed by any Exit Financing
approved by the Court in conjunction with the confirmation of this Plan.

Cypress Fairbanks ISD – This creditor is owed $41,885.39 for ad valorem taxes. It will be paid in full
pursuant to the requirements of the United States Bankruptcy Code or in 60 months if this creditor agrees,
with the first monthly payment being due and payable on the 15th day of the 1st month following 60 days
after the Effective Date of the Plan. It will be paid the applicable non-bankruptcy rate of interest as
provided under 11 U.S.C. 511. The monthly payment will be approximately $1,103.00. This creditor
shall retain all liens it currently holds, whether for pre-petition tax years or for the current tax year, on
any property of the Debtor until it receives payment in full of all taxes and interest owed to it under the
provisions of this Plan, and its lien position shall not be diminished or primed by any Exit Financing
approved by the Court in conjunction with the confirmation of this Plan.

These claims are impaired

Class 3(c) – Equipment Lenders

Navitas Credit Corp. - This creditor’s claim is $11,927.76 for financing a Yale Model GLC120VX
forklift. The forklift is at Forklifts and Tires, 14503 Sommermeyer St, Houston, Texas 77041 for repair,
and this forklift is being surrendered in full satisfaction of the debt.

This claim is impaired

Class 3(d) – Equipment Lease

Working Ox Capital, LLC – After allowance for adequate protection payments made during the course
of this case through JANUARY 2018, this creditor’s claim is $239,660.00 for the balance due on two
master leases for (1) a Faccin/Biko Model B3-3138 Plate Roll equipped with a Cone Rolling Attachment
(Serial number 12024166-4158) and (2) a Faccin Model HAV 3162 Plate Roll (Serial number 12114376-
4373). This balance will be paid in full in consecutive monthly payments of $6,600.00 beginning
FEBRUARY 15, 2018 and ending in APRIL 2021. Working Ox Capital will retain its lien/security
interest on the above described equipment. All provisions of the master leases not modified by the Plan
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will remain in full force and effect.

This claim is impaired

Class 3(e) - Contracts

Colonial Funding Network, Inc., as servicing provider for MIDTOWN FUNDING, LLC – This
creditor shall have an allowed secured claim in the amount of $305,791.36, and will be paid in full in 60
months, including 6% interest, with the first monthly payment being due and payable on the 15th day of
the 1st month following 60 days after the Effective Date of the Plan. The monthly payment will be
approximately $5,911.80. On the 15th day of the 60th month, any balance owed this creditor will be paid
in full in a single lump sum payment. This creditor shall retain all liens it currently holds on any personal
property of the Debtor, except for liens on roll machines pledged to Working Ox, until it receives
payment in full under the provisions of this Plan.

This claim is impaired

               4.        Priority Unsecured Claims

       Priority Unsecured Claims are not secured by property of the estate but are entitled to priority
under § 507(a) of the Code. The following chart identifies the Plan’s proposed treatment of Class 4,
which contains priority unsecured claims against the Debtor:

Texas Comptroller of Public Accounts – This creditor has a priority unsecured claim for taxes in the
amount of $2,400.00. It will be paid in full pursuant to the requirements of the United States Bankruptcy
Code or in 60 months if this creditor agrees, with the first monthly payment being due and payable on
the 15th day of the 1st month following 60 days after the Effective Date of the Plan. It will be paid the
applicable non-bankruptcy rate of interest as provided under 11 U.S.C. 511. The monthly payment will
be approximately $54.00.

               5.        General Unsecured Claims

       General unsecured claims are not secured by property of the estate and are not entitled to priority
under § 507(a) of the Code.

These allowed general unsecured creditors will be mailed the previous year’s financial statement each
year for five years, during the term of the five-year Plan, on or about May 1st each year, beginning on
May 1, 2018, and thereafter on or about May 1, 2019, May 1, 2020, May 1, 2021, and May 1, 2022.
Each year, if the Reorganized Debtor made a profit, after income taxes, and after making all Plan
payments and normal overhead payments, the Reorganized Debtor shall pay to the allowed unsecured
creditors their pro-rata share of 50% of the net profit for the previous year, in twelve monthly payments
beginning on September 15th of the year in which the financial statement is mailed to these creditors.
Each year, during the term of the five-year Plan, the Reorganized Debtor will repeat the 12-month
payment plan to these allowed unsecured creditors if the Reorganized Debtor made a net profit the
previous year as reflected in the previous year’s financial statement. This payout will not exceed five
years, and at the end of the five-year Plan term, the remaining balance owed, if any, to these allowed
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unsecured creditors will be discharged.

               6.      Insider Claims

Insiders will not be paid any pre-petition claims during the term of the Plan and their claims will be
discharged upon confirmation of the Plan.

               7.      Equity Interest Holders

        Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in the
Debtor. In a corporation, entities holding preferred or common stock are equity interest holders. Mr.
Jeremy Thompson, 1726 Mayweather Lane, Richmond, TX 77406 owns 28.3% Common Shares; Mr.
Ovidiu M. Daian, 10822 Clifton Forge Drive, Houston, TX 77065 owns 33.3% Common Shares; Estate
of Vincent J. Vare, Deceased, 3030 Matlock Road, Suite 201 Arlington, TX 76015 owns 33.3% Common
Shares Mr. Curtis Williams, 5059 Meriden Drive, Houston, TX 77084 owns 5% Common Shares. None
of the Shareholders except Mr. Jeremy Thompson, are working for the Debtor company. All shares are
hereby CANCELED except those shares issued to Mr. Jeremy Thompson. This paragraph is modified
as set out in the following paragraph:

Estate of Vincent J. Vare – The Estate of Vincent J. Vare’s claim shall be allowed as a Class 5
unsecured claim, and be treated as a Class 5 unsecured creditor as set out in the Plan of Reorganization.
The Vare Estate’s shares in the Debtor are canceled, and the Estate is hereby issued 34% of the
outstanding equity interests in and of the Reorganized Debtor (and thereby Jeremy Thompson shall be
issued 66% of the outstanding equity interests in and of the Reorganized Debtor). The 34%-66%
distribution of the equity interests in the Reorganized Debtor shall not be altered from such distribution
and shall not be diluted unless approved in writing by the Vare Estate (and then the distributees of the
Vare Estate upon the completion of the probate administration of the Vare Estate) and Jeremy Thompson.
The Vare Estate supports the chapter 11 Plan of Reorganization. The issuance of the equity in and of
the Reorganized Debtor to Jeremy Thompson and the Vare Estate shall occur and shall be effective upon
and with the Effective Date of the confirmed Plan, and thereafter the Reorganized Debtor may issue
stock certificates and update its internal corporate governance documents accordingly. No equity interest
holders will receive dividends or distributions for their equity interest during the pendency of this chapter
11 Plan prior to all creditors being paid in full.

       A.      Means of Implementing the Plan

               1.      Source of Payments

Payments and distributions under the Plan will be funded by through business operations. – As to a
default under the plan, any creditor remedies allowed by 11 U.S.C. § 1112(b)(4)(N) shall be preserved
to the extent otherwise available at law. In addition to any rights specifically provided to a claimant
treated pursuant to this Plan, a failure by the Reorganized Debtor to make a payment to a creditor
pursuant to the terms of this Plan shall be an event of default as to such payments if the payment is not
cured within thirty (30) days after service of a written notice of default from such creditor, then such
creditor may exercise any and all rights and remedies under applicable non-bankruptcy law to collect
such claims or seek such relief as may be appropriate in the United States Bankruptcy Court.
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               2.      Post-confirmation Management

        The Post-Confirmation Management of the Debtor will be the same as before and during the
bankruptcy proceeding. Jeremy and Christi Thompson will remain as the post-confirmation management
of the Reorganized Debtor.

               3.      Disbursing Agent

       The Reorganized Debtor will be the disbursing agent under the plan.

       B.      Executory Contracts and Unexpired Leases

       The Plan lists all executory contracts and unexpired leases that the Debtor will assume under the
Plan. Assumption means that the Debtor has elected to continue to perform the obligations under such
contracts and unexpired leases, and to cure defaults of the type that must be cured under the Code, if
any.

         If you object to the assumption of your unexpired lease or executory contract, the proposed cure
of any defaults, or the adequacy of assurance of performance, you must file and serve your objection to
the Plan within the deadline for objecting to the confirmation of the Plan, unless the Court has set an
earlier time.

       All executory contracts and unexpired leases that are not listed will be rejected under the Plan.
Consult your adviser or attorney for more specific information about particular contracts or leases.

        If you object to the rejection of your contract or lease, you must file and serve your objection to
the Plan within the deadline for objecting to the confirmation of the Plan.

        The Deadline for Filing a Proof of Claim Based on a Claim Arising from the Rejection of a
Lease or Contract Is 60 days after the contract or lease is (or was by operation of law) rejected. Any
claim based on the rejection of a contract or lease will be disallowed or discharged if the proof of claim
is (or was) not timely filed, unless the Court orders otherwise.

       C.      Tax Consequences of Plan

       Creditors Concerned with How the Plan May Affect Their Tax Liability Should Consult with
Their Own Accountants, Attorneys, And/Or Advisors. The Debtor believes that there will be no tax
consequences of the Plan that will impact the Debtor.

IV.    CONFIRMATION REQUIREMENTS AND PROCEDURES

       To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the Code.
These include the requirements that: the Plan must be proposed in good faith; at least one impaired class
of claims must accept the plan, without counting votes of insiders; the Plan must distribute to each
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creditor and equity interest holder at least as much as the creditor or equity interest holder would receive
in a chapter 7 liquidation case, unless the creditor or equity interest holder votes to accept the Plan; and
the Plan must be feasible. These requirements are not the only requirements listed in § 1129, and they
are not the only requirements for confirmation.

       A.       Who May Vote or Object

       Any party in interest may object to the confirmation of the Plan if the party believes that the
requirements for confirmation are not met. Any insider’s vote will not be counted.

        Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A creditor
or equity interest holder has a right to vote for or against the Plan only if that creditor or equity interest
holder has a claim or equity interest that is both (1) allowed or allowed for voting purposes and (2)
impaired.

        In this case, the Debtor believes that the secured, priority and unsecured classes are impaired and
that holders of claims in each of these classes are therefore entitled to vote to accept or reject the Plan.
The Debtor believes that class 1 is unimpaired and that holders of claims in this class, therefore, do not
have the right to vote to accept or reject the Plan.

                1.     What Is an Allowed Claim or an Allowed Equity Interest?

        Only a creditor or equity interest holder with an allowed claim has the right to vote on the Plan.
Generally, a claim or equity interest is allowed if either (1) the Debtor has scheduled the claim on the
Debtor’s schedules, unless the claim has been scheduled as disputed, contingent, or unliquidated, or (2)
the creditor has filed a proof of claim or equity interest, unless an objection has been filed to such proof
of claim or equity interest. When a claim is not allowed, the creditor holding the claim cannot vote
unless the Court, after notice and hearing, either overrules the objection or allows the claim for voting
purposes pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy Procedure.

       The deadline for filing a proof of claim in this case was June 21, 2017.
       The deadline for filing objections to claims is 60 days after confirmation of the Plan.

                2.     What Is an Impaired Claim or Impaired Equity Interest?

        As noted above, the holder of an allowed claim or equity interest has the right to vote only if it
is in a class that is impaired under the Plan. As provided in § 1124 of the Code, a class is considered
impaired if the Plan alters the legal, equitable, or contractual rights of the members of that class.

                3.     Who is Not Entitled to Vote

       The holders of the following six types of claims and equity interests are not entitled to vote:

            •   holders of claims and equity interests that have been disallowed by an order of the Court;
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            •   holders of other claims or equity interests that are not “allowed claims” or “allowed equity
                interests” (as discussed above), unless they have been “allowed” for voting purposes.

            •   holders of claims or equity interests in unimpaired classes;

            •   holders of claims entitled to priority pursuant to §§ 507(a)(2), (a)(3), and (a)(8) of the
                Code; and

            •   holders of claims or equity interests in classes that do not receive or retain any value under
                the Plan;

            •   holders of administrative claims.

Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the Confirmation of
the Plan and to the Adequacy of the Disclosure Statement.

                4.     Who Can Vote in More Than One Class

       A creditor whose claim has been allowed in part as a secured claim and in part as an unsecured
claim, or who otherwise holds claims in multiple classes, is entitled to accept or reject a Plan in each
capacity, and should cast one ballot for each claim.

       B.       Votes Necessary to Confirm the Plan

        If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one impaired class
of creditors has accepted the Plan without counting the votes of any insiders within that class, and (2) all
impaired classes have voted to accept the Plan, unless the Plan is eligible to be confirmed by a cram
down on non-accepting classes, as discussed later in Section B.2.

                1.     Votes Necessary for a Class to Accept the Plan

        A class of claims accepts the Plan if both of the following occur: (1) the holders of more than
one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the Plan, and (2) the
holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the class, who vote, cast
their votes to accept the Plan.

        A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in amount of
the allowed equity interests in the class, who vote, cast their votes to accept the Plan.

                2.     Treatment of Non-accepting Classes

        Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm the Plan
if the non-accepting classes are treated in the manner prescribed by § 1129(b) of the Code. A plan that
binds non-accepting classes is commonly referred to as a cram down plan. The Code allows the Plan to
bind non-accepting classes of claims or equity interests if it meets all the requirements for consensual
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confirmation except the voting requirements of § 1129(a)(8) of the Code, does not discriminate unfairly,
and is fair and equitable toward each impaired class that has not voted to accept the Plan.

You should consult your own attorney if a cram down confirmation will affect your claim or equity
interest, as the variations on this general rule are numerous and complex.

       C.      Liquidation Analysis

       To confirm the Plan, the Court must find that all creditors and equity interest holders who do not
accept the Plan will receive at least as much under the Plan as such claim and equity interest holders
would receive in a chapter 7 liquidation. The liquidation analysis is set out as Exhibit “C” hereto.

       D.      Feasibility

        The Court must find that confirmation of the Plan is not likely to be followed by the liquidation,
or the need for further financial reorganization, of the Debtor or any successor to the Debtor, unless such
liquidation or reorganization is proposed in the Plan.

      Exhibit “D” is the schedules listing the assets of the Debtor, and Exhibit “E” is the schedules
showing the liabilities of the Debtor.

        E.     Plan Default - In the event of any failure of the Reorganized Debtor to timely make its
required plan payments to one or more of these creditors, they shall send notice of such default to the
Reorganized Debtor. If the default is not cured within thirty (30) days of the date of such notice, the
creditors may proceed to collect all amounts owed pursuant to state law without further recourse to the
Bankruptcy Court

V.     EFFECT OF CONFIRMATION OF PLAN

       A. Discharge of Debtor

       On the effective date of the Plan, the Debtor shall be discharged from any debt that arose before
confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in §
1141(d)(1)(A) of the Code. However, the Debtor shall not be discharged from any debt imposed by the
Plan. After the effective date of the Plan your claims against the Debtor will be limited to the debts
imposed by the Plan.

        B.      Vesting of Property in the Reorganized Debtor. On the Effective Date, title to all
assets and properties dealt with by the Plan shall vest in the Reorganized Debtor, free and clear of all
Claims and Interests other than any contractual secured claims granted under any lending agreement, on
the condition that the Reorganized Debtor complies with the terms of the Plan, including the making of
all payments to creditors provided for in such Plan. If the Reorganized Debtor defaults in performing
under the provisions of the Plan and this case is converted to a case under chapter 7, all property vested
in the Reorganized Debtor and all subsequently acquired property owned as of or after the conversion
date shall re-vest and constitute property of the bankruptcy estate in the converted case.
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       C.      Modification of Plan

       The Plan Proponent may modify the Plan at any time before confirmation of the Plan. However,
the Court may require a new disclosure statement and/or re-voting on the Plan. The Plan Proponent
may also seek to modify the Plan at any time after confirmation only if (1) the Plan has not been
substantially consummated and (2) the Court authorizes the proposed modifications after notice and a
hearing.

       D.      Final Decree

       Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of
Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in the Plan
Confirmation Order, shall file a motion with the Court to obtain a final decree to close the case.
Alternatively, the Court may enter such a final decree on its own motion.


Dated: January 15, 2017.


                                           /s/ Margaret M. McClure
                                         ____________________________________________
                                         Margaret M. McClure, Attorney for Debtor
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                           EXHIBIT A
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                    UNITED STATES BANKRUPTCY COURT FOR THE
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                             §           BANKRUPTCY CASE NO.
                                                   §
HOUSTON PLATE PROCESSING, INC.                     §           17-30603-H5-11
                                                   §
DEBTOR                                             §           Chapter 11



         DEBTOR’S (CORRECTED) AMENDED PLAN OF REORGANIZATION
                       (to correct Working Ox treatment)

                                             ARTICLE I

                                            SUMMARY

       This Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy Code (the
“Code”) proposes to pay creditors of HOUSTON PLATE PROCESSING, INC. (the “Debtor”)
from future business income. This Plan provides for classes of secured creditors, priority creditors,
unsecured creditors and a class of equity security holders. This Plan also provides for the payment
of administrative and priority claims. All creditors and equity security holders should refer to the
provisions of this Plan for information regarding the precise treatment of their claim. A disclosure
statement that provides more detailed information regarding this Plan and the rights of creditors
and equity security holders has been circulated with this Plan. Your rights may be affected. You
should read these papers carefully and discuss them with your attorney, if you have one. If
you do not have an attorney, you may wish to consult one.


                                            ARTICLE II

                     CLASSIFICATION OF CLAIMS AND INTERESTS

               1.      Administrative Expenses

        Administrative expenses are costs or expenses of administering the Debtor’s chapter 11
case which are allowed under § 507(a)(2) of the Code. Administrative expenses also include the
value of any goods sold to the Debtor in the ordinary course of business and received within 20
days before the date of the bankruptcy petition. The Code requires that all administrative expenses
be paid on the effective date of the Plan, unless a particular claimant agrees to a different treatment.
The following chart lists the Debtor’s estimated administrative expenses, and their proposed
treatment under the Plan:
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Margaret M. McClure – Ms. McClure holds a remaining retainer balance in the amount of
$16,536.20 and estimates fees and expenses in the amount of $40,000.00.

U.S. Trustee – fees are current and will stay current until this case is closed.

Texas Development Company – This administrative creditor will be paid additional rents in the
amount of $7,500.00 per month beginning November 1, 2017, for eight months and the ninth
payment in the amount of $3,130.00. These additional rents are in lieu of the lump sum payment
of additional rents in the amount of $63,130.00 as set out in Second Lease Amendment which
payment was due on or about the Effective Date of the Plan as referenced in the Court’s order of
April 5, 2017 (docket no. 43).


               2.      Priority Unsecured Tax Claims

       None

               3.      Secured Claims

        Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy estate
(or that are subject to set-off) to the extent allowed as secured claims under § 506 of the Code. If
the value of the collateral or setoffs securing the creditor’s claim is less than the amount of the
creditor’s allowed claim the deficiency will be classified as a general unsecured claim. The
following chart lists all classes containing Debtor’s secured pre-petition claims and their proposed
treatment under the Plan:

Class 3(a) – Convenience Class

Hilti, Inc. – This secured creditor is owed $454.00 and will be paid in full on the Effective Date
of the Plan as a convenience since it is owed so little.

Class 3(b) – Taxing Authorities

Harris County, et al. – This creditor is owed $24,093.11 for ad valorem taxes. It will be paid in
full pursuant to the requirements of the United States Bankruptcy Code or in 60 months if this
creditor agrees, with the first monthly payment being due and payable on the 15th day of the 1st
month following 60 days after the Effective Date of the Plan. It will be paid the applicable non-
bankruptcy rate of interest as provided under 11 U.S.C. 511. The monthly payment will be
approximately $536.00. This creditor shall retain all liens it currently holds, whether for pre-
petition tax years or for the current tax year, on any property of the Debtor until it receives payment
in full of all taxes and interest owed to it under the provisions of this Plan, and its lien position
shall not be diminished or primed by any Exit Financing approved by the Court in conjunction
with the confirmation of this Plan.

Cypress Fairbanks ISD – This creditor is owed $41,885.39 for ad valorem taxes. It will be paid
in full pursuant to the requirements of the United States Bankruptcy Code or in 60 months if this
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creditor agrees, with the first monthly payment being due and payable on the 15th day of the 1st
month following 60 days after the Effective Date of the Plan. It will be paid the applicable non-
bankruptcy rate of interest as provided under 11 U.S.C. 511. The monthly payment will be
approximately $1,103.00. This creditor shall retain all liens it currently holds, whether for pre-
petition tax years or for the current tax year, on any property of the Debtor until it receives payment
in full of all taxes and interest owed to it under the provisions of this Plan, and its lien position
shall not be diminished or primed by any Exit Financing approved by the Court in conjunction
with the confirmation of this Plan.

These claims are impaired

Class 3(c) – Equipment Lenders

Navitas Credit Corp. - This creditor’s claim is $11,927.76 for financing a Yale Model
GLC120VX forklift. The forklift is at Forklifts and Tires, 14503 Sommermeyer St, Houston,
Texas 77041 for repair, and this forklift is being surrendered in full satisfaction of the debt.

This claim is impaired

Class 3(d) – Equipment Lease

Working Ox Capital, LLC – After allowance for adequate protection payments made during the
course of this case through JANUARY 2018, this creditor’s claim is $239,660.00 for the balance
due on two master leases for (1) a Faccin/Biko Model B3-3138 Plate Roll equipped with a Cone
Rolling Attachment (Serial number 12024166-4158) and (2) a Faccin Model HAV 3162 Plate Roll
(Serial number 12114376-4373). This balance will be paid in full in consecutive monthly payments
of $6,600.00 beginning FEBRUARY 15, 2018 and ending in APRIL 2021. Working Ox Capital
will retain its lien/security interest on the above described equipment. All provisions of the master
leases not modified by the Plan will remain in full force and effect.

This claim is impaired

Class 3(e) - Contracts

Colonial Funding Network, Inc., as servicing provider for MIDTOWN FUNDING, LLC –
This creditor shall have an allowed secured claim in the amount of $305,791.36, and will be paid
in full in 60 months, including 6% interest, with the first monthly payment being due and payable
on the 15th day of the 1st month following 60 days after the Effective Date of the Plan. The monthly
payment will be approximately $5,911.80. On the 15th day of the 60th month, any balance owed
this creditor will be paid in full in a single lump sum payment. This creditor shall retain all liens
it currently holds on any personal property of the Debtor, except for liens on roll machines pledged
to Working Ox, until it receives payment in full under the provisions of this Plan.

This claim is impaired
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               4.      Priority Unsecured Claims

        Priority Unsecured Claims are not secured by property of the estate but are entitled to
priority under § 507(a) of the Code. The following chart identifies the Plan’s proposed treatment
of Class 4, which contains priority unsecured claims against the Debtor:

Texas Comptroller of Public Accounts – This creditor has a priority unsecured claim for taxes
in the amount of $2,400.00. It will be paid in full pursuant to the requirements of the United States
Bankruptcy Code or in 60 months if this creditor agrees, with the first monthly payment being due
and payable on the 15th day of the 1st month following 60 days after the Effective Date of the Plan.
It will be paid the applicable non-bankruptcy rate of interest as provided under 11 U.S.C. 511. The
monthly payment will be approximately $54.00.

               5.      General Unsecured Claims

        General unsecured claims are not secured by property of the estate and are not entitled to
priority under § 507(a) of the Code.

These allowed general unsecured creditors will be mailed the previous year’s financial statement
each year for five years, during the term of the five-year Plan, on or about May 1st each year,
beginning on May 1, 2018, and thereafter on or about May 1, 2019, May 1, 2020, May 1, 2021,
and May 1, 2022. Each year, if the Reorganized Debtor made a profit, after income taxes, and
after making all Plan payments and normal overhead payments, the Reorganized Debtor shall pay
to the allowed unsecured creditors their pro-rata share of 50% of the net profit for the previous
year, in twelve monthly payments beginning on September 15th of the year in which the financial
statement is mailed to these creditors. Each year, during the term of the five-year Plan, the
Reorganized Debtor will repeat the 12-month payment plan to these allowed unsecured creditors
if the Reorganized Debtor made a net profit the previous year as reflected in the previous year’s
financial statement. This payout will not exceed five years, and at the end of the five-year Plan
term, the remaining balance owed, if any, to these allowed unsecured creditors will be discharged.

               6.      Insider Claims

Insiders will not be paid any pre-petition claims during the term of the Plan and their claims will
be discharged upon confirmation of the Plan.

               7.      Equity Interest Holders

       Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in
the Debtor. In a corporation, entities holding preferred or common stock are equity interest
holders. Mr. Jeremy Thompson, 1726 Mayweather Lane, Richmond, TX 77406 owns 28.3%
Common Shares; Mr. Ovidiu M. Daian, 10822 Clifton Forge Drive, Houston, TX 77065 owns
33.3% Common Shares; Estate of Vincent J. Vare, Deceased, 3030 Matlock Road, Suite 201
Arlington, TX 76015 owns 33.3% Common Shares Mr. Curtis Williams, 5059 Meriden Drive,
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Houston, TX 77084 owns 5% Common Shares. None of the Shareholders except Mr. Jeremy
Thompson, are working for the Debtor company. All shares are hereby CANCELED except those
shares issued to Mr. Jeremy Thompson. This paragraph is modified as set out in the following
paragraph:

Estate of Vincent J. Vare – The Estate of Vincent J. Vare’s claim shall be allowed as a Class 5
unsecured claim, and be treated as a Class 5 unsecured creditor as set out in the Plan of
Reorganization. The Vare Estate’s shares in the Debtor are canceled, and the Estate is hereby
issued 34% of the outstanding equity interests in and of the Reorganized Debtor (and thereby
Jeremy Thompson shall be issued 66% of the outstanding equity interests in and of the
Reorganized Debtor). The 34%-66% distribution of the equity interests in the Reorganized Debtor
shall not be altered from such distribution and shall not be diluted unless approved in writing by
the Vare Estate (and then the distributees of the Vare Estate upon the completion of the probate
administration of the Vare Estate) and Jeremy Thompson. The Vare Estate supports the chapter 11
Plan of Reorganization. The issuance of the equity in and of the Reorganized Debtor to Jeremy
Thompson and the Vare Estate shall occur and shall be effective upon and with the Effective Date
of the confirmed Plan, and thereafter the Reorganized Debtor may issue stock certificates and
update its internal corporate governance documents accordingly. No equity interest holders will
receive dividends or distributions for their equity interest during the pendency of this chapter 11
Plan prior to all creditors being paid in full.

                                           ARTICLE III

                    ALLOWANCE AND DISALLOWANCE OF CLAIMS

Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a final
non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed,
and the Debtor or another party in interest has filed an objection; or (ii) no proof of claim has been
filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.

Delay of Distribution on a Disputed Claim. No distribution will be made on account of a disputed
claim unless such claim is allowed by a final non-appealable order.

Settlement of Disputed Claims. The Debtor will have the power and authority to settle and
compromise a disputed claim with court approval and compliance with Rule 9019 of the Federal
Rules of Bankruptcy Procedure.

Claim Objections. The Debtor shall have 60 days from the Effective Date of the Plan to file
objections to claims.

Vesting of Property On the Effective Date, title to all assets and properties dealt with by the Plan
shall vest in Reorganized Debtor, free and clear of all claims and interests other than any
contractual secured claims granted under any lending agreement, on the condition that
Reorganized Debtor complies with the terms of the Plan, including the making of all payments to
creditors provided for in such Plan. If Reorganized Debtor defaults in performing under the
provisions of this Plan and this case is converted to a case under chapter 7, all property vested in
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Reorganized Debtor and all subsequently acquired property owned as of or after the conversion
date shall re-vest and constitute property of the bankruptcy estate in the converted case.

Default – Any creditor remedies allowed by 11 U.S.C. § 1112(b)(4)(N) shall be preserved to the
extent otherwise available at law. In addition to any rights specifically provided to a claimant
treated pursuant to this Plan, a failure by the Reorganized Debtor to make a payment to a creditor
pursuant to the terms of this Plan shall be an event of default as to such payments if the payment
is not cured within thirty (30) days after mailing written notice of default from such creditor to the
Reorganized Debtor. If a Monthly Payment is not timely received by a creditor after the Debtor
has already cured three untimely payments, the creditor may exercise any and all rights and
remedies under applicable non-bankruptcy law to collect such claims or seek such relief as
may be appropriate in the United States Bankruptcy Court.

                                           ARTICLE IV

     PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Assumed Executory Contracts and Unexpired Leases.

The Debtor assumes the following executory contracts and/or unexpired leases effective upon the
“effective date of this Plan:” The real estate lease with Texas Development Company and Working
Ox lease purchase agreement. The Debtor will be conclusively deemed to have rejected all
executory contracts and/or unexpired leases not expressly assumed above, or before the date of the
order confirming this Plan, upon the “effective date of this Plan.” A proof of a claim arising from
the rejection of an executory contract or unexpired lease under this section must be filed no later
than sixty (60) days after the date of the order confirming this Plan.

                                            ARTICLE V

                     MEANS FOR IMPLEMENTATION OF THE PLAN

         This Plan of Reorganization will be funded by the Reorganized Debtor through future
rental income. The current management, Mr. Jeremy Thompson and Christi Thompson, will
remain in control. Mr. and Mrs. Thompson will continue to receive their salaries of $9,166.67
each monthly during the term of the Plan. If reasonable, cost of living adjustments may be made
to their salaries.


                                           ARTICLE VI

                                    GENERAL PROVISIONS

Definitions and Rules of Construction. The definitions and rules of construction set forth in §§ 101
and 102 of the Code shall apply when terms defined or construed in the Code are used in this Plan.

Effective Date of Plan. The effective date of this Plan is the fifteenth business day following the
date of the entry of the order of confirmation. But if a stay of the confirmation order is in effect on
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that date, the effective date will be the first business day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation order has not been vacated.

Severability. If any provision in this Plan is determined to be unenforceable, the determination will
in no way limit or affect the enforceability and operative effect of any other provision of this Plan.

Binding Effect. The rights and obligations of any entity named or referred to in this Plan will be
binding upon, and will inure to the benefit of the successors or assigns of such entity.

Captions. The headings contained in this Plan are for convenience of reference only and do not
affect the meaning or interpretation of this Plan.

Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the
Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Texas govern this
Plan and any agreements, documents, and instruments executed in connection with this Plan,
except as otherwise provided in this Plan.

Disputed Claims. All claims that were listed in the schedules as “disputed” required the filing of
a proof of claim. If no proof of claim was timely filed, the claimant will not be paid under this
Plan of Reorganization.

Late-Filed Claims. Any late-filed claims shall not be allowed claims, and shall not be paid under
this Plan of Reorganization.

                                          ARTICLE VII

                                           DISCHARGE

        On the confirmation date of this Plan, the Debtor will be discharged from any debt that
arose before confirmation of this Plan, subject to the occurrence of the effective date, to the extent
specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of any debt:
(i) imposed by this Plan; (ii) of a kind specified in § 1141(d)(6)(A) if a timely complaint was filed
in accordance with Rule 4007(c) of the Federal Rules of Bankruptcy Procedure; or (iii) of a kind
specified in § 1141(d)(6)(B).

Dated January 15, 2017.


                                                      /s/ Margaret M. McClure
                                                      ___________________________________
                                                      Margaret M. McClure, Attorney for Debtor
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                           EXHIBIT B
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                                                                               12255 FM 529
                                                                        Houston, Texas 77041
            Houston Plate
            Processing, Inc.




Houston Plate Processing was founded in 2012 with the idea of providing a
quality product with improved customer service and attentiveness to our
customers. Opening our own company would allow us complete control over
how and when our customers received their orders.
Although Houston Plate was a new player in the industry, it was not a traditional
start-up company in some aspects. Many loyal customers followed the sales
team and Houston Plate did not have to worry about pounding the pavement
looking for their first customer. We were however, a traditional start-up company
from the standpoint of the aging equipment that we purchased when we
opened.
During the first few years, Houston Plate worked hard to grow our business and
expand our customer base. After earning it’s ASME welding certification, we
invested $100,000 on a down payment for a new roll machine, capable of
rolling thicker cylinders. This machine allowed us to fabricate a more unique kind
of product to our customers, one in which only a few other companies in the
Houston area were able to also produce. This, combined with our ASME
stamped, gave us a competitive advantage over other competitors that were
unable to fabricate everything in house.
Surviving the first few years proved to be an uphill battle. Shortly after opening,
Houston Plate and a few of its employees were sued by their former employer.
When the legal battle was over in July 2013, Houston Plate spent $230,000 in
legal fees fighting for its survival. In 2013, one of the burning machines required
parts that were by that time obsolete causing HPP to spend $80,000 in
equipment upgrades to retrofit our machine. One of Houston Plates founding
partners, the company’s financial backer, passed away shortly afterwards,
starting a string of events that helped lead to this day. While the economy was
doing well during our first few years, the company was spending hundreds of
thousands of dollars fighting to stay open when it could have been saved for
the upcoming worst economic disaster since the great depression. Houston
Plate was able to keep the doors open, but we slowly were digging a hole that
we unknowingly were unable to dig ourselves out of, amassing an accounts
payable that more than doubled the accounts receivable.
Currently Houston Plate, under the relief of filing Chapter 11, has been able to
reorganize and shift the company in a direction that would help make it



                             phone:281.742.0597 fax: 832.243.4056
                               website: www.houstonplate.com
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                                                                            12255 FM 529
                                                                     Houston, Texas 77041


a viable company for years to come. With an economic climate that is still not
conducive to the oil & gas industry, Houston Plate’s payables remain under
$60,000 while maintaining receivables upwards of $240,000 on a consistent
monthly basis. While there is still a long road to travel, it is the belief of
management that the future is limitless. The hurdles that crippled HPP in the
beginning are no longer hurdles, no longer obstacles that threaten the
company’s existence. There are no more machines to purchase, we are primed
and ready to move forward and be the company that was envisioned when it
was originally opened. The company will continue to make small steps to
improve the company’s viability and grow the company into an industry leader
and well respected business.




                            phone:281.742.0597 fax: 832.243.4056
                              website: www.houstonplate.com
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Houston Plate Processing, Inc.                                                                                                                                                                                              Fiscal Year - 2018
Projected 5 year financial report

                                             Jan.             Feb.             March          April             May             June             July             August          Sept.             Oct.             Nov.             Dec.             TOTAL


Sales                                    $   260,000      $    245,000     $    290,000   $    290,000      $   310,000     $   270,000      $   260,000      $    260,000    $    265,000      $   270,000      $    245,000     $   252,200      $     3,217,200
        Cost of goods sold (inventory)   $   117,000      $    110,250     $    121,800   $    116,000      $   130,200     $   121,500      $   111,800      $    111,800    $    108,650      $   108,000      $    102,900     $   105,924      $     1,365,824
        Gross profit                     $   143,000      $    134,750     $    168,200   $    174,000      $   179,800     $   148,500      $   148,200      $    148,200    $    156,350      $   162,000      $    142,100     $   146,276      $     1,851,376


Expenses                                                                                        `
        Total payroll (hourly/salary)    $    55,000      $     55,000     $     55,000   $     55,000      $    55,000     $    55,000      $    55,000      $     55,000    $     55,000      $    55,000      $     55,000     $    55,000      $       660,000
        Payroll taxes                    $    25,000      $     25,000     $     25,000   $     25,000      $    25,000     $    25,000      $    25,000      $     25,000    $     25,000      $    25,000      $     25,000     $    25,000      $       300,000
        Payroll (ADP services)           $      1,000     $      1,000     $      1,000   $         1,000   $     1,000     $     1,000      $      1,000     $       1,000   $      1,000      $      1,000     $      1,000     $      1,000     $           12,000
        Outside processing/testing       $      5,200     $      5,200     $      5,200   $         5,200   $     5,200     $     5,200      $      5,200     $       5,200   $      5,200      $      5,200     $      5,200     $      5,200     $           62,400
        Rent                             $    14,553      $     14,553     $     14,553   $     16,867      $    16,867     $    16,867      $    16,867      $     16,867    $     16,867      $    16,867      $     16,867     $    16,867      $       195,462
        Insurance                        $      1,490     $      1,490     $      1,490   $         1,490   $     1,490     $     1,490      $      1,490     $       1,490   $      1,490      $      1,490     $      1,490     $      1,490     $           17,880
        Utilities                        $      3,600     $      3,600     $      3,600   $         3,600   $     3,600     $     3,600      $      3,600     $       3,600   $      3,600      $      3,600     $      3,600     $      3,600     $           43,200
        Property taxes                   $      5,500     $      5,500     $      5,500   $         5,500   $     5,500     $     5,500      $      5,500     $       5,500   $      5,500      $      5,500     $      5,500     $      5,500     $           66,000
        Office supplies                  $          300   $          300   $       300    $           300   $         300   $          300   $          300   $        300    $           300   $          300   $          300   $          300   $            3,600
        Shop supplies                    $      5,000     $      5,000     $      5,000   $         5,000   $     5,000     $     5,000      $      5,000     $       5,000   $      5,000      $      5,000     $      5,000     $      5,000     $           60,000
        Truck note                       $          800   $          800   $       800    $           800   $         800   $          800   $          800   $        800    $           800   $          800   $          800   $          800   $            9,600
        Repairs & Maintenance            $      3,000     $      3,000     $      3,000   $         3,000   $     3,000     $     3,000      $      3,000     $       3,000   $      3,000      $      3,000     $      3,000     $      3,000     $           36,000
        Computer/Software Maintence      $      1,600     $      1,600     $      1,600   $         1,600   $     1,600     $     1,600      $      1,600     $       1,600   $      1,600      $      1,600     $      1,600     $      1,600     $           19,200
        Freight (In/Out)                 $      8,000     $      8,000     $      8,000   $         8,000   $     8,000     $     8,000      $      8,000     $       8,000   $      8,000      $      8,000     $      8,000     $      8,000     $           96,000
        Communications                   $      1,200     $      1,200     $      1,200   $         1,200   $     1,200     $     1,200      $      1,200     $       1,200   $      1,200      $      1,200     $      1,200     $      1,200     $           14,400
        Fuel (Company truck)             $      1,400     $      1,400     $      1,400   $         1,400   $     1,400     $     1,400      $      1,400     $       1,400   $      1,400      $      1,400     $      1,400     $      1,400     $           16,800
        Other expenses                   $      1,200     $      1,200     $      1,200   $         1,200   $     1,200     $     1,200      $      1,200     $       1,200   $      1,200      $      1,200     $      1,200     $      1,200     $           14,400
Total Expenses                           $   133,843      $    133,843     $    133,843   $    136,157      $   136,157     $   136,157      $   136,157      $    136,157    $    136,157      $   136,157      $    136,157     $   136,157      $     1,626,942
Total Net                                $      9,157     $          907   $     34,357   $     37,843      $    43,643     $    12,343      $    12,043      $     12,043    $     20,193      $    25,843      $      5,943     $    10,119      $       224,434
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Houston Plate Processing, Inc.                                                                                                                                                                                 Fiscal Year - 2019
Projected 5 year financial report

                                                   Jan.             Feb.             March         April           May           June          July             August         Sept.         Oct.             Nov.         Dec.          TOTAL
Sales                                          $   275,000      $    268,000     $   310,000   $   320,000     $   333,000   $   300,050   $   290,000      $    315,150   $   325,000   $   330,000      $ 292,250    $   286,605   $ 3,645,055
            Cost of goods sold (inventory)     $   123,750      $    120,600     $   130,200   $   128,000     $   139,860   $   135,023   $   124,700      $    135,515   $   133,250   $   132,000      $ 122,745    $   120,374   $ 1,546,016
            Gross profit                       $   151,250      $    147,400     $   179,800   $   192,000     $   193,140   $   165,028   $   165,300      $    179,636   $   191,750   $   198,000      $ 169,505    $   166,231   $ 2,099,039


Expenses                                                                                             `
            Total payroll (hourly/salary)      $    65,000      $     65,000     $    65,000   $    65,000     $    65,000   $    65,000   $    65,000      $     65,000   $    65,000   $    65,000      $   65,000   $    65,000   $    780,000
            Payroll taxes                      $    30,000      $     30,000     $    30,000   $    30,000     $    30,000   $    30,000   $    30,000      $     30,000   $    30,000   $    30,000      $   30,000   $    30,000   $    360,000
            Payroll (ADP services)             $      1,000     $      1,000     $     1,000   $     1,000     $     1,000   $     1,000   $     1,000      $      1,000   $     1,000   $     1,000      $    1,000   $     1,000   $     12,000
            Outside processing/testing         $      5,200     $      5,200     $     5,200   $     5,200     $     5,200   $     5,200   $     5,200      $      5,200   $     5,200   $     5,200      $    5,200   $     5,200   $     62,400
            Rent                               $    16,867      $     16,867     $    16,867   $    18,117     $    18,117   $    18,117   $    18,117      $     18,117   $    18,117   $    18,117      $   18,117   $    18,117   $    213,654
            Insurance                          $      1,490     $      1,490     $     1,490   $     1,490     $     1,490   $     1,490   $     1,490      $      1,490   $     1,490   $     1,490      $    1,490   $     1,490   $     17,880
            Utilities                          $      3,600     $      3,600     $     3,600   $     3,600     $     3,600   $     3,600   $     3,600      $      3,600   $     3,600   $     3,600      $    3,600   $     3,600   $     43,200
            Property taxes                     $      5,500     $      5,500     $     5,500   $     5,500     $     5,500   $     5,500   $     5,500      $      5,500   $     5,500   $     5,500      $    5,500   $     5,500   $     66,000
            Office supplies                    $          300   $          300   $       300   $         300   $      300    $      300    $          300   $       300    $       300   $      300       $      300   $      300    $      3,600
            Shop supplies                      $      5,000     $      5,000     $     5,000   $     5,000     $     5,000   $     5,000   $     5,000      $      5,000   $     5,000   $     5,000      $    5,000   $     5,000   $     60,000
            Truck note                         $          800   $          800   $       800   $         800   $      800    $      800    $          800   $       800    $       800   $          800   $      800   $      800    $      9,600
            Repairs & Maintenance              $      3,000     $      3,000     $     3,000   $     3,000     $     3,000   $     3,000   $     3,000      $      3,000   $     3,000   $     3,000      $    3,000   $     3,000   $     36,000
            Computer/Software Maintence        $      1,600     $      1,600     $     1,600   $     1,600     $     1,600   $     1,600   $     1,600      $      1,600   $     1,600   $     1,600      $    1,600   $     1,600   $     19,200
            Freight (In/Out)                   $      8,000     $      8,000     $     8,000   $     8,000     $     8,000   $     8,000   $     8,000      $      8,000   $     8,000   $     8,000      $    8,000   $     8,000   $     96,000
            Communications                     $      1,200     $      1,200     $     1,200   $     1,200     $     1,200   $     1,200   $     1,200      $      1,200   $     1,200   $     1,200      $    1,200   $     1,200   $     14,400
            Fuel (Company truck)               $      1,400     $      1,400     $     1,400   $     1,400     $     1,400   $     1,400   $     1,400      $      1,400   $     1,400   $     1,400      $    1,400   $     1,400   $     16,800
            Other expenses                     $      1,200     $      1,200     $     1,200   $     1,200     $     1,200   $     1,200   $     1,200      $      1,200   $     1,200   $     1,200      $    1,200   $     1,200   $     14,400
Total Expenses                                 $   151,157      $    151,157     $   151,157   $   152,407     $   152,407   $   152,407   $   152,407      $    152,407   $   152,407   $   152,407      $ 152,407    $   152,407   $ 1,664,334
Total Net                                      $           93   $     (3,757) $       28,643   $    39,593     $    40,733   $    12,621   $    12,893      $     27,229   $    39,343   $    45,593      $   17,098   $    13,824   $    273,905
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Houston Plate Processing, Inc.                                                                                                                                                                 Fiscal Year - 2020
Projected 5 year financial report

                                                     Jan.         Feb.          March         April           May          June         July         August        Sept.         Oct.         Nov.          Dec.         TOTAL
Sales                                            $ 268,455    $ 271,590     $ 341,000     $ 352,000       $ 366,300    $ 330,055    $ 319,000    $ 346,665     $ 357,500     $ 363,000    $ 321,475     $ 315,266    $ 3,952,306
            Cost of goods sold (inventory)       $ 120,805    $ 122,216     $ 143,220     $ 140,800       $ 153,846    $ 148,525    $ 137,170    $ 149,066     $ 146,575     $ 145,200    $ 135,020     $ 132,412    $ 1,674,853
            Gross profit                         $ 147,650    $ 149,375     $ 197,780     $ 211,200       $ 212,454    $ 181,530    $ 181,830    $ 197,599     $ 210,925     $ 217,800    $ 186,456     $ 182,854    $ 2,277,453


Expenses                                                                                        `
            Total payroll (hourly/salary)        $   65,000   $   65,000    $    65,000   $    65,000     $   65,000   $   65,000   $   65,000   $    65,000   $    65,000   $   65,000   $    65,000   $   65,000   $    780,000
            Payroll taxes                        $   30,000   $   30,000    $    30,000   $    30,000     $   30,000   $   30,000   $   30,000   $    30,000   $    30,000   $   30,000   $    30,000   $   30,000   $    360,000
            Payroll (ADP services)               $    1,000   $     1,000   $     1,000   $     1,000     $    1,000   $    1,000   $    1,000   $     1,000   $     1,000   $    1,000   $     1,000   $    1,000   $     12,000
            Outside processing/testing           $    5,200   $     5,200   $     5,200   $     5,200     $    5,200   $    5,200   $    5,200   $     5,200   $     5,200   $    5,200   $     5,200   $    5,200   $     62,400
            Rent                                 $   18,117   $   18,117    $    18,117   $    19,367     $   19,367   $   19,367   $   19,367   $    19,367   $    19,367   $   19,367   $    19,367   $   19,367   $    228,654
            Insurance                            $    1,490   $     1,490   $     1,490   $     1,490     $    1,490   $    1,490   $    1,490   $     1,490   $     1,490   $    1,490   $     1,490   $    1,490   $     17,880
            Utilities                            $    3,600   $     3,600   $     3,600   $     3,600     $    3,600   $    3,600   $    3,600   $     3,600   $     3,600   $    3,600   $     3,600   $    3,600   $     43,200
            Property taxes                       $    5,500   $     5,500   $     5,500   $     5,500     $    5,500   $    5,500   $    5,500   $     5,500   $     5,500   $    5,500   $     5,500   $    5,500   $     66,000
            Office supplies                      $      300   $      300    $      300    $         300   $     300    $      300   $      300   $       300   $       300   $      300   $      300    $      300   $      3,600
            Shop supplies                        $    5,000   $     5,000   $     5,000   $     5,000     $    5,000   $    5,000   $    5,000   $     5,000   $     5,000   $    5,000   $     5,000   $    5,000   $     60,000
            Truck note                           $      800   $      800    $      800    $         800   $     800    $      800   $      800   $       800   $       800   $      800   $      800    $      800   $      9,600
            Repairs & Maintenance                $    3,000   $     3,000   $     3,000   $     3,000     $    3,000   $    3,000   $    3,000   $     3,000   $     3,000   $    3,000   $     3,000   $    3,000   $     36,000
            Computer/Software Maintence          $    1,600   $     1,600   $     1,600   $     1,600     $    1,600   $    1,600   $    1,600   $     1,600   $     1,600   $    1,600   $     1,600   $    1,600   $     19,200
            Freight (In/Out)                     $    8,000   $     8,000   $     8,000   $     8,000     $    8,000   $    8,000   $    8,000   $     8,000   $     8,000   $    8,000   $     8,000   $    8,000   $     96,000
            Communications                       $    1,200   $     1,200   $     1,200   $     1,200     $    1,200   $    1,200   $    1,200   $     1,200   $     1,200   $    1,200   $     1,200   $    1,200   $     14,400
            Fuel (Company truck)                 $    1,400   $     1,400   $     1,400   $     1,400     $    1,400   $    1,400   $    1,400   $     1,400   $     1,400   $    1,400   $     1,400   $    1,400   $     16,800
            Other expenses                       $    1,200   $     1,200   $     1,200   $     1,200     $    1,200   $    1,200   $    1,200   $     1,200   $     1,200   $    1,200   $     1,200   $    1,200   $     14,400
Total Expenses                                   $ 152,407    $ 152,407     $ 152,407     $ 153,657       $ 153,657    $ 153,657    $ 153,657    $ 153,657     $ 153,657     $ 153,657    $ 153,657     $ 153,657    $ 1,840,134
Total Net                                        $    (4,757) $    (3,033) $     45,373   $    57,543     $   58,797   $   27,873   $   28,173   $    43,942   $    57,268   $   64,143   $    32,799   $   29,197   $    437,319
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Houston Plate Processing, Inc.                                                                                                                                                                                Fiscal Year - 2021
Projected 5 year financial report

                                                     Jan.         Feb.             March         April           May           June          July             August         Sept.          Oct.             Nov.         Dec.          TOTAL
Sales                                            $ 295,300 $ 298,750 $             375,100 $     387,200 $       402,930 $     363,061 $     350,900 $         381,332 $     393,250 $      399,300 $ 353,623 $           346,793   $ 4,347,539
             Cost of goods sold (inventory)      $ 132,885    $ 134,438        $   157,542   $   154,880     $   169,231   $   163,377   $   150,887      $    163,973   $   161,233    $   159,720      $ 148,522    $   145,653   $ 1,842,340
             Gross profit                        $ 162,415    $ 164,313        $   217,558   $   232,320     $   233,699   $   199,684   $   200,013      $    217,359   $   232,018    $   239,580      $ 205,101    $   201,140   $ 2,505,199


Expenses                                                                                           `
             Total payroll (hourly/salary)       $   65,000   $    65,000      $    65,000   $    65,000     $    65,000   $    65,000   $    65,000      $     65,000   $    65,000    $    65,000      $   65,000   $    65,000   $    780,000
             Payroll taxes                       $   30,000   $    30,000      $    30,000   $    30,000     $    30,000   $    30,000   $    30,000      $     30,000   $    30,000    $    30,000      $   30,000   $    30,000   $    360,000
             Payroll (ADP services)              $    1,000   $     1,000      $     1,000   $     1,000     $     1,000   $     1,000   $     1,000      $      1,000   $      1,000   $     1,000      $    1,000   $     1,000   $     12,000
             Outside processing/testing          $    5,200   $     5,200      $     5,200   $     5,200     $     5,200   $     5,200   $     5,200      $      5,200   $      5,200   $     5,200      $    5,200   $     5,200   $     62,400
             Rent                                $   19,367   $    19,367      $    19,367   $    20,617     $    20,617   $    20,617   $    20,617      $     20,617   $    20,617    $    20,617      $   20,617   $    20,617   $    243,654
             Insurance                           $    1,490   $     1,490      $     1,490   $     1,490     $     1,490   $     1,490   $     1,490      $      1,490   $      1,490   $     1,490      $    1,490   $     1,490   $     17,880
             Utilities                           $    3,600   $     3,600      $     3,600   $     3,600     $     3,600   $     3,600   $     3,600      $      3,600   $      3,600   $     3,600      $    3,600   $     3,600   $     43,200
             Property taxes                      $    5,500   $     5,500      $     5,500   $     5,500     $     5,500   $     5,500   $     5,500      $      5,500   $      5,500   $     5,500      $    5,500   $     5,500   $     66,000
             Office supplies                     $      300   $          300   $       300   $         300   $      300    $      300    $          300   $       300    $       300    $          300   $      300   $      300    $      3,600
             Shop supplies                       $    5,000   $     5,000      $     5,000   $     5,000     $     5,000   $     5,000   $     5,000      $      5,000   $      5,000   $     5,000      $    5,000   $     5,000   $     60,000
             Truck note                          $      800   $          800   $       800   $         800   $      800    $      800    $          800   $       800    $       800    $          800   $      800   $      800    $      9,600
             Repairs & Maintenance               $    3,000   $     3,000      $     3,000   $     3,000     $     3,000   $     3,000   $     3,000      $      3,000   $      3,000   $     3,000      $    3,000   $     3,000   $     36,000
             Computer/Software Maintence         $    1,600   $     1,600      $     1,600   $     1,600     $     1,600   $     1,600   $     1,600      $      1,600   $      1,600   $     1,600      $    1,600   $     1,600   $     19,200
             Freight (In/Out)                    $    8,000   $     8,000      $     8,000   $     8,000     $     8,000   $     8,000   $     8,000      $      8,000   $      8,000   $     8,000      $    8,000   $     8,000   $     96,000
             Communications                      $    1,200   $     1,200      $     1,200   $     1,200     $     1,200   $     1,200   $     1,200      $      1,200   $      1,200   $     1,200      $    1,200   $     1,200   $     14,400
             Fuel (Company truck)                $    1,400   $     1,400      $     1,400   $     1,400     $     1,400   $     1,400   $     1,400      $      1,400   $      1,400   $     1,400      $    1,400   $     1,400   $     16,800
             Other expenses                      $    1,200   $     1,200      $     1,200   $     1,200     $     1,200   $     1,200   $     1,200      $      1,200   $      1,200   $     1,200      $    1,200   $     1,200   $     14,400
Total Expenses                                   $ 153,657    $ 153,657        $   153,657   $   154,907     $   154,907   $   154,907   $   154,907      $    154,907   $   154,907    $   154,907      $ 154,907    $   154,907   $ 1,855,134
Total Net                                        $    8,758   $    10,656      $    63,901   $    77,413     $    78,792   $    44,777   $    45,106      $     62,452   $    77,111    $    84,673      $   50,194   $    46,233   $    650,065
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Houston Plate Processing, Inc.                                                                                                                                                                 Fiscal Year - 2022
Projected 5 year financial report

                                                      Jan.         Feb.         March         April           May          June         July         August        Sept.         Oct.         Nov.         Dec.         TOTAL
Sales                                             $ 324,830    $ 328,625    $ 412,610     $ 425,920       $ 443,223    $ 399,367    $ 385,990    $ 419,465     $ 432,575     $ 439,230    $ 388,985    $ 381,472    $ 4,782,292
            Cost of goods sold (inventory)        $ 146,174    $ 147,881    $ 173,296     $ 170,368       $ 186,154    $ 179,715    $ 165,976    $ 180,370     $ 177,356     $ 175,692    $ 163,374    $ 160,218    $ 2,026,573
            Gross profit                          $ 178,657    $ 180,744    $ 239,314     $ 255,552       $ 257,069    $ 219,652    $ 220,014    $ 239,095     $ 255,219     $ 263,538    $ 225,611    $ 221,254    $ 2,755,719


Expenses                                                                                        `
            Total payroll (hourly/salary)         $   65,000   $   65,000   $    65,000   $   65,000      $   65,000   $   65,000   $   65,000   $    65,000   $    65,000   $   65,000   $   65,000   $   65,000   $    780,000
            Payroll taxes                         $   30,000   $   30,000   $    30,000   $   30,000      $   30,000   $   30,000   $   30,000   $    30,000   $    30,000   $   30,000   $   30,000   $   30,000   $    360,000
            Payroll (ADP services)                $    1,000   $    1,000   $     1,000   $     1,000     $    1,000   $    1,000   $    1,000   $     1,000   $     1,000   $    1,000   $    1,000   $    1,000   $     12,000
            Outside processing/testing            $    5,200   $    5,200   $     5,200   $     5,200     $    5,200   $    5,200   $    5,200   $     5,200   $     5,200   $    5,200   $    5,200   $    5,200   $     62,400
            Rent                                  $   21,867   $   21,867   $    21,867   $   21,867      $   21,867   $   21,867   $   21,867   $    21,867   $    21,867   $   21,867   $   21,867   $   21,867   $    262,404
            Insurance                             $    1,490   $    1,490   $     1,490   $     1,490     $    1,490   $    1,490   $    1,490   $     1,490   $     1,490   $    1,490   $    1,490   $    1,490   $     17,880
            Utilities                             $    3,600   $    3,600   $     3,600   $     3,600     $    3,600   $    3,600   $    3,600   $     3,600   $     3,600   $    3,600   $    3,600   $    3,600   $     43,200
            Property taxes                        $    5,500   $    5,500   $     5,500   $     5,500     $    5,500   $    5,500   $    5,500   $     5,500   $     5,500   $    5,500   $    5,500   $    5,500   $     66,000
            Office supplies                       $      300   $      300   $      300    $         300   $     300    $      300   $      300   $       300   $       300   $      300   $      300   $      300   $      3,600
            Shop supplies                         $    5,000   $    5,000   $     5,000   $     5,000     $    5,000   $    5,000   $    5,000   $     5,000   $     5,000   $    5,000   $    5,000   $    5,000   $     60,000
            Truck note                            $      800   $      800   $      800    $         800   $     800    $      800   $      800   $       800   $       800   $      800   $      800   $      800   $      9,600
            Repairs & Maintenance                 $    3,000   $    3,000   $     3,000   $     3,000     $    3,000   $    3,000   $    3,000   $     3,000   $     3,000   $    3,000   $    3,000   $    3,000   $     36,000
            Computer/Software Maintence           $    1,600   $    1,600   $     1,600   $     1,600     $    1,600   $    1,600   $    1,600   $     1,600   $     1,600   $    1,600   $    1,600   $    1,600   $     19,200
            Freight (In/Out)                      $    8,000   $    8,000   $     8,000   $     8,000     $    8,000   $    8,000   $    8,000   $     8,000   $     8,000   $    8,000   $    8,000   $    8,000   $     96,000
            Communications                        $    1,200   $    1,200   $     1,200   $     1,200     $    1,200   $    1,200   $    1,200   $     1,200   $     1,200   $    1,200   $    1,200   $    1,200   $     14,400
            Fuel (Company truck)                  $    1,400   $    1,400   $     1,400   $     1,400     $    1,400   $    1,400   $    1,400   $     1,400   $     1,400   $    1,400   $    1,400   $    1,400   $     16,800
            Other expenses                        $    1,200   $    1,200   $     1,200   $     1,200     $    1,200   $    1,200   $    1,200   $     1,200   $     1,200   $    1,200   $    1,200   $    1,200   $     14,400
Total Expenses                                    $ 156,157    $ 156,157    $ 156,157     $ 156,157       $ 156,157    $ 156,157    $ 156,157    $ 156,157     $ 156,157     $ 156,157    $ 156,157    $ 156,157    $ 1,873,884
Total Net                                         $   22,500   $   24,587   $    83,157   $   99,395      $ 100,912    $   63,495   $   63,857   $    82,938   $    99,062   $ 107,381    $   69,454   $   65,097   $    881,835
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Projected 5-year financial projections – breakdown analysis


   1. Sales/Gross profit – the sales to gross profit ratio in 2017 was an average of 60.17%. These
       projections for 2018 conservatively project a 55.5% ratio. Our focus and drive for 2018 and
       forward is to shift sales from sales of cut parts/inventory to more sales that include added
       value such as our rolling and welding. Right now, our welding comprises 30% of our gross
       sales. In 2018, we are projecting our welding to increase 20% on the 2017 sales figures which
       will drive up the revenue and more importantly the gross profit. We have formulated a system
       to drive our welding sales up by increase our exposure to the industry by doing more
       marketing, and we have hired an employee to only make sales calls and generate leads.
   2. Payroll/payroll taxes – these projections are somewhat based off of historical data for 2017.
       It is a combination of the hourly workers broken down by department, combined with the
       type of work that HPP produced during the fiscal year. We are going to be able to keep payroll
       at a manageable rate because we will be able to hire more employees in our weld
       department, thus cutting down the overtime. At the same time, we will be able to pull hours
       from the burning department which had focused on tedious, time consuming jobs that involve
       processing cut parts, which will now be focused on burning larger plates for our welding
       department.
   3. Outside processing/testing – with an increase in welding sales we will see a slight increase
       in outside processing/testing cost. The reason for such a slight increase in this category is
       because we will be able to consolidate more jobs per service thus allowing us to meet the
       minimum charge and require less frequent visits during the month.
   4. Insurance—this is based on our current property insurance premium that runs through June
       2018; historically we have not seen an increase in our premiums unless new equipment has
       is purchased, and no new equipment will be purchased in the foreseeable future.
   5. Utilities—our monthly utility bills have been historically consistent, figures from 2017 were
       used for this amount.
   6. Property taxes—based on 2016 property taxes.
   7. Office Supplies—used 2017 yearly average for this figure.
   8. Shop Supplies—increased from 2017 monthly figures to account for increase in
       expected increase in welding production.
   9. Truck Note—fixed monthly amount-truck will be paid off December 2020.
   10. Repairs/maintenance—based on 2016/2017 yearly averages.
   11. Computer/Software Maintenance—maintenance plan worked out with IT company
   12. Fuel-Truck—based on 2017 average
   13. Other expenses—this category was created as a buffer for any type of
       unforeseen expense/repair/purchase which are not typical
   14. Leases for equipment (working ox)—agreement signed
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                           EXHIBIT C
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                                                     HOUSTON PLATE PROCESSING, INC.
                                                         CASE NO. 17-30603-H5-11
                                                     CHAPTER 11 LIQUIDATION ANALYSIS

        NON-EXEMPT ASSETS                                                                                           Market Value
          Comerica Bank - Checking Account - Debtor In Possession- Account No. …1840                            $      18,568.11
          Accounts Receivable 90 days old or less                                                                     200,453.36
          Accounts Receivable over 90 days old                                                                         40,617.61
          Steel Plate                                                                                                  35,868.01
          Fabricating Plate                                                                                           230,700.00
          Fabricating Plate                                                                                            62,647.00
          Processing & Shop Supplies                                                                                    8,500.00
Ex. A     Machinery (14)                                                                                              447,500.00
Ex. A     Shop Equipment Misc. Items (39)                                                                              36,750.00
Ex. B     Printers (9)                                                                                                    830.00
Ex. B     Computers (12)                                                                                                  750.00
Ex. B     Keyboards (13)                                                                                                  230.00
Ex. B     Monitors (15)                                                                                                   815.00
Ex. B     Misc. Equipment (19)                                                                                          1,560.00
Ex. B     Furniture (28)                                                                                                5,070.00
          2015 GMC Sierra 3500 - 1GD411C85FF531265                                                                     17,450.00
          Claim against Gas Process Equipment                                                                          25,794.95

                                                                                       TOTAL                    $    1,134,104.04

        CREDITORS
Claim     Secured Claims                                                                                              Amount
  2       Harris County et al                          Account No. 221-793-610-0000, 221-742-030-0000           $       24,093.11
  3       Cypress Fairbanks ISD                        Account No. 217-936-1, 217-420-3                                 41,885.39
  6       Navitas Credit Corp                          Lease No. 40050282                                               11,927.76
 11       Texas Development Company                                                                                     63,130.00
 13       Working Ox Capital, LLC                                                                                      285,080.00
 18       Colonial Funding Network, Inc./Midtown Fundin Account No…. 4949                                              305,791.36
          Hilti, Inc.                                  Account No. …5663                                                   454.00
          Northwoods Management                        Account No. …0023                                                13,069.27

                                                                                       TOTAL                    $      745,430.89

Claim      Priority Claims                                                                                            Amount
 15        Texas Comptroller of Public Accounts       Bankruptcy ID No. XXXXXXX0351                             $       2,400.00
 19        Texas Workforce Commission                 Account No. …0182                                                    61.05

                                                                                       TOTAL                    $        2,461.05

                                                                    Net Available to General Unsecured Claims   $     386,212.10

Claim      General Unsecured Claims                                                                                   Amount
  1        Chapel Steel Corporation                    Customer No. …17337                                      $       64,853.01
  4        American Express Bank, FSB                  Account No. …1000                                                12,350.08
  5        W W Grainger Inc.                           Account No. …9054                                                   871.41
  7        Praxair Distribution Inc.                   Customer No. 72225629                                            28,800.45
  8        Triple S Steel Holdings, Inc.               Customer No. 95014                                               80,909.96
  9        Dun & Branstreet                            Subscriber No. 264862238                                          1,119.29
 10        McCune Electrical Services, LLC             Job No. 437-16                                                    1,840.25
 12        JackRabbit Steel Products, Inc.             Account No. …006                                                 29,619.00
 14        Cyclone Steel Services, Inc.                Account No. …0991                                                16,292.98
 16        Estate of Vincent J. Vare                                                                                   846,879.96
 17        American Alloy Steel, Inc.                  Account No. …1024                                                89,897.38
           A & B Crane Services, LLC                   Account No. …43HT                                                 2,830.90
           AAA Flame Cur Steel, LLC                    Account No. …2215                                                 3,085.00
           Air Compressor Technologies                 Account No. …6223                                                   453.57
           Arca Funding/Midtown/Strategic Funding                                                                      293,140.00
           Best Networking Services, Inc.              Account No. …8153                                                21,569.08
           Briggs Equipment                            Account No. …8936                                                 1,474.82
           Corporation Service Company, as Representative                                                               Unknown
           Delta Steel, Inc.                           Account No. …5669                                                22,906.97
           Diamond G                                   Account No. …5086                                                17,193.56
           Eldred Sheet Metal Works, L.P.              Account No. …2522                                                   725.00
           EMT Expedited Logistics, Inc.               Account No. ...0428                                               2,518.56
           FedEx Freight                               Account No. …3606                                                 1,023.62
           First Choice Brokerage, Inc.                Account No. …0217                                                 1,490.00
           Forklifts & Tires                           Account No. …8381                                                 7,910.83
           IHS Markit                                  Account No. ...1001                                               1,155.69
           Jacquet Houston, Inc.                       Account No. ...0428                                               8,185.00
           Jeremiah E. Thompson                                                                                         48,002.00
           Kimzey Software Solutions                   Account No. …0689                                                 2,480.00
           Leo Daian                                                                                                    18,338.98
           Mason Dixie Supply, Inc.                    Account No. ...7872                                              10,359.32
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Claim     General Unsecured Claims                                                Amount
          Monument Frieght Services          Account No. …5350                       7,525.00
          NDT - PRO Services                 Account No. …1160                         300.00
          Oiler Transport                    Account No. …6HHP                       8,350.00
          Ourco Supply Corporation           Account No. …1721                       2,749.10
          Patriot Freight Group, LLC         Account No. …2511                       3,160.00
          Pendulum Finance                                                          Unknown
          Precise Steel                      Account No. …3090                      39,869.92
          Professional Welding Supply        Account No. …8952                      14,096.30
          Proserv Crane Group                Account No. …3529                       2,555.00
          QuarterSpot Funding                Account No. …3270                      42,043.35
          Ranger Steel                       Account No. …9310                     117,311.78
          Russell Logistics, LLC             Account No. …9228                      17,542.00
          Sigmatek Systems International     Account No. …4181                       3,456.00
          Staples                            Account No. …3715                         395.29
          Superior Supply                                                          158,724.65
          Veracity Technical Services        Account No. 1167                       10,400.86

                                                                 TOTAL        $   2,066,755.92

        PERCENTAGE RECEIVED IN CHAPTER 7 LIQUIDATION                                   18.69%
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                           EXHIBIT D
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  Fill in this information to identify the case:

              Houston Plate Processing, Inc.
  Debtor name __________________________________________________________________

                                         Southern District of Texas
  United States Bankruptcy Court for the:________________________________________

  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   
   X
          Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                   0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
        Comerica Bank
   3.1. _________________________________________________ Checking Account
                                                          ______________________                 1 ____
                                                                                               ____  2 ____0 ____
                                                                                                                4                 2,000.00
                                                                                                                                 $______________________
   3.2. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1                                                                                                                2,000.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   X
          No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


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Debtor         Houston Plate Processing, Inc.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    
    X
      Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    $200,453.36
                                 ____________________________   $0.00
                                                              – ___________________________          = ........ Î                 200,453.36
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        $40,617.61
                                  ___________________________   $0.00
                                                              – ___________________________          = ........ Î                 40,617.61
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                               241,070.97
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    X
      No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



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Debtor          Houston Plate Processing, Inc.
                _______________________________________________________                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
    
    X
      Yes. Fill in the information below.

     General description                            Date of the last      Net book value of     Valuation method used        Current value of
                                                    physical inventory    debtor's interest     for current value            debtor’s interest
                                                                          (Where available)
19. Raw materials
   Steel Plate
   ________________________________________
                                                    12/31/2016
                                                    ______________        0.00                  Industry Pricing             35,868.01
                                                                                                                            $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   Fabricating Plate
   ________________________________________
                                                     01/23/2017
                                                    ______________                              Industry Pricing             230,700.00
                                                                                                                            $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   Fabricated Plate
   ________________________________________
                                                     01/23/2017
                                                    ______________                              Industry Pricing             62,647.00
                                                                                                                            $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   Processing & Shop Supplies
   ________________________________________
                                                     01/23/2016
                                                    ______________                              Industry Pricing             8,500.00
                                                                                                                            $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                          337,715.01
                                                                                                                            $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    
    X
          No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
    
    X                     73,725.14
          Yes. Book value _______________                        Industry Pricing
                                                 Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    
    X
          No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    X
      No. Go to Part 7.

     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used        Current value of debtor’s
                                                                          debtor's interest     for current value            interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________       $______________________


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Debtor         Houston Plate Processing, Inc.
               _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    X
      Yes. Fill in the information below.


   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   See Exhibit B
   ______________________________________________________________              $________________     Market Value
                                                                                                     ____________________        5,070.00
                                                                                                                                $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   See Exhibit B
   ______________________________________________________________              $________________     Market Value
                                                                                                     ____________________        4,185.00
                                                                                                                                $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                 9,255.00
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    
    X
      No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    X
      No
     Yes

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 Debtor         Houston Plate Processing, Inc.
                _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    
    X
      Yes. Fill in the information below.


   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

        2015 GMC Sierra 3500 - 1GD411C85FF531265
   47.1___________________________________________________________           17,450.00
                                                                            $________________      Kelley Blue Book
                                                                                                   ____________________        17,450.00
                                                                                                                              $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

    See Exhibit A
   ______________________________________________________________          $________________       Market Value
                                                                                                   ____________________        484,250.00
                                                                                                                              $______________________


51. Total of Part 8.
                                                                                                                               501,700.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
    
    X
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    
    X
          No
         Yes




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Debtor          Houston Plate Processing, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    X
      Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
        12255 FM 529, Houston, TX 77041
    55.1________________________________________            Leasehold
                                                            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                     0.00
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    
    X
          No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    X
          No
         Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    X Yes. Fill in the information below.


   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    www.houstonplate.com
    ______________________________________________________________                  godaddy
                                                                                  $_________________     Market
                                                                                                         ______________________        0.00
                                                                                                                                      $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                  0.00
                                                                                  $_________________     ______________________         0.00
                                                                                                                                      $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                 0.00
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




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Debtor          Houston Plate Processing, Inc.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    X
         No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    X    No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    X    No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    X
          Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =Î   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
     Federal Income Taxes
    _________________________________________________________________________________
                                                                                                                    2013              0.00
                                                                                                          Tax year ___________      $_____________________
     Federal Income Taxes
    _________________________________________________________________________________
                                                                                                                    2014
                                                                                                          Tax year ___________        0.00
                                                                                                                                    $_____________________
     Federal Income Taxes
    _________________________________________________________________________________
                                                                                                                    2015
                                                                                                          Tax year ___________        0.00
                                                                                                                                    $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    Claim against Gas Process Equipment-Lawsuit Dismissed
    ______________________________________________________________                                                                   25,794.95
                                                                                                                                    $_______________________
    Nature of claim                   Claim for unpaid Invoices
                                      ___________________________________

    Amount requested                   25,794.95
                                      $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested_                 $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                     25,794.95
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    X    No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
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                                                                                     of71
                                                                                        65
 Debtor            Houston Plate Processing, Inc.
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


        Type of property                                                                             Current value of                         Current value
                                                                                                     personal property                        of real property

 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                  2,000.00
                                                                                                        $_______________


 81. Deposits and prepayments. Copy line 9, Part 2.                                                      0.00
                                                                                                        $_______________


 82. Accounts receivable. Copy line 12, Part 3.                                                          241,070.97
                                                                                                        $_______________


 83. Investments. Copy line 17, Part 4.                                                                  0.00
                                                                                                        $_______________

 84. Inventory. Copy line 23, Part 5.                                                                    337,715.01
                                                                                                        $_______________

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                           0.00
                                                                                                        $_______________

 86. Office furniture, fixtures, and equipment, and collectibles.                                        9,255.00
                                                                                                        $_______________
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                           501,700.00
                                                                                                        $_______________


 88. Real property. Copy line 56, Part 9. . .................................................................................. Î
                                                                                                                                               0.00
                                                                                                                                              $________________

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                       0.00
                                                                                                        $_______________


 90. All other assets. Copy line 78, Part 11.                                                      +     25,794.95
                                                                                                        $_______________


                                                                                                         1,117,535.93                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                    $_______________           +   91b.
                                                                                                                                              $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..........................................................................................        1,117,535.93
                                                                                                                                                                  $__________________




 Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                                                                                         65
  Fill in this information to identify the case:

              Houston Plate Processing, Inc.
  Debtor name __________________________________________________________________
                                          Southern District of Texas
  United States Bankruptcy Court for the: ______________________________________

  Case number (If known):       _________________________                                                                                              Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
         No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    X
          Yes. Fill in all of the information below.

 Part 1:        List Creditors Who Have Secured Claims
                                                                                                                                Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                Do not deduct the value   that supports this
                                                                                                                                of collateral.            claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Cypress-Fairbanks ISD
     __________________________________________                 Business personal property taxes owed                2,031.00
                                                                                                                    $__________________                     Unknown
                                                                                                                                                           $_________________
                                                                ___________________________________________________
    Creditor’s mailing address                                  ___________________________________________________

         10494 Jones Road, Suite 106
     ________________________________________________________   ___________________________________________________
         Houston, TX 77065
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           2015-2016
                                     __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    9 ___
                             ___ 3 ___
                                    6 ___
                                       1                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
    
    X
      Yes. Specify each creditor, including this creditor,         Unliquidated
              and its relative priority.                           Disputed
               1:Cypress-Fairbanks ISD;
              ___________________________________
               2:Cypress-Fairbanks ISD
              ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Cypress-Fairbanks ISD
     __________________________________________                 Business personal property taxes owed
                                                                ___________________________________________________  25,517.66
                                                                                                                    $__________________                     Unknown
                                                                                                                                                           $_________________

    Creditor’s mailing address                                  ___________________________________________________
         10494 Jones Road, Suite 106
     ________________________________________________________   ___________________________________________________
         Houston, TX 77065
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           2014-2016
                                     __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    4 ___
                             ___ 2 ___
                                    0 ___
                                       3                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X
      Yes. Have you already specified the relative                 Unliquidated
              priority?                                            Disputed
             No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _________________________________
                   _________________________________
          
          X
              Yes. The relative priority of creditors is
                                        2.1
                   specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  391,627.05
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                           6
                                                                                                                                                             page 1 of ___
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                                                                                         65
  Debtor           Houston Plate Processing, Inc.
                   _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  3 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Harris County, et al (John P. Dillman)
     __________________________________________                 Business person property taxes owed
                                                                ___________________________________________________
                                                                                                                                 4,070.19
                                                                                                                                $__________________      Unknown
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      P.O. Box 3064                                             ___________________________________________________
     ________________________________________________________

      Houston, TX 77253
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred            10/16-2017
                                     __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    9 ___
                             ___ 3 ___
                                    6 ___
                                       1                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X
      Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

           
           X
               No. Specify each creditor, including this
                   creditor, and its relative priority.
                    1:Harris County, et al (John P.
                   _______________________________
                   Dillman); 2:Harris County, et al
                   _______________________________
                   (John P. Dillman)
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  4 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Harris County, et al (John P. Dillman)
     __________________________________________
                                                                Business person property taxes owed
                                                                ___________________________________________________
                                                                                                                                  11,653.63
                                                                                                                                $__________________       Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      P.O. Box 3064
     ________________________________________________________

      Houston, TX 77253
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred            2015/16
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    4 ___
                             ___ 2 ___
                                    0 ___
                                       3                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

           
           X
               Yes. The relative priority of creditors is
                                        2.3
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   6
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  Debtor           Houston Plate Processing, Inc.
                   _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  5 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Hilti, Inc.
     __________________________________________                 Lease of equipment
                                                                ___________________________________________________
                                                                                                                                 454.00
                                                                                                                                $__________________      Unknown
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      5400 South 122nd East Avenue                              ___________________________________________________
     ________________________________________________________

      Tulsa, OK 74146
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred            12/2016
                                     __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    5 ___
                             ___ 6 ___
                                    6 ___
                                       3                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  6 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Navistas Credit Corp.
     __________________________________________
                                                                Lease of forklift - SURRENDERING
                                                                ___________________________________________________
                                                                                                                                  8,802.80
                                                                                                                                $__________________       Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      P.O. Box 935204
     ________________________________________________________

      Atlanta, GA 31193
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    0 ___
                             ___ 2 ___
                                    8 ___
                                       2                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___   6
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  Debtor           Houston Plate Processing, Inc.
                   _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  7 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Northwoods Management
     __________________________________________                 Property taxes
                                                                ___________________________________________________
                                                                                                                                 13,069.27
                                                                                                                                $__________________      Unknown
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address

      12121 FM 529                                              ___________________________________________________
     ________________________________________________________

      Houston, TX 77041
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred            2016
                                     __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    0 ___
                             ___ 0 ___
                                    2 ___
                                       3                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  8 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Texas Development Company (R. Krell)
     __________________________________________
                                                                Business lease space
                                                                ___________________________________________________
                                                                                                                                  115,000.00
                                                                                                                                $__________________       Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      1600 Smith Street, Suite 3885
     ________________________________________________________

      Houston, TX 77002
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     Ttc@Northwoods.com
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred            10/1/2016
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



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  Debtor           Houston Plate Processing, Inc.
                   _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
  Part 1:       Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  9 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

      Texas Welding Supply Co., Inc./Praxair
     __________________________________________                 Product Supply & Equipment Rental Agreement
                                                                ___________________________________________________
                                                                                                                                 1,028.50
                                                                                                                                $__________________      Unknown
                                                                                                                                                        $_________________
                                                                - Tank Rental - Amount of Claim is per month
                                                                ___________________________________________________
     Creditor’s mailing address

      1585 Sawdust Road, Suite 300                              ___________________________________________________
     ________________________________________________________

      Spring, TX 77380
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred            1/12/16
                                     __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                
                                                                X
                                                                    No
    number                    1 ___
                             ___ 0 ___
                                    2 ___
                                       5                           Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X
      No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                        
                                                                X
                                                                    Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  10 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Working Ox Capital, LLC
     __________________________________________
                                                                Equipment Lease
                                                                ___________________________________________________
                                                                                                                                  210,000.00
                                                                                                                                $__________________       Unknown
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
      907 U.S. Hwy. 301 South
     ________________________________________________________

      Tampa, FL 33619
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X
                                                                    No
                                                                   Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                
                                                                X
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



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                                                                                      65
Debtor           Houston Plate Processing, Inc.
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                      On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                      did you enter the           account number
                                                                                                                                      related creditor?           for this entity
    Cypress-Fairbanks ISD
    __________________________________________________________________________________________________________________

    P.O. Box 203908
    ____________________________________________________________________________                                                             1
                                                                                                                                     Line 2. __                    9 ___
                                                                                                                                                                  ___ 3 ___
                                                                                                                                                                         6 ___
                                                                                                                                                                            1
    Houston, TX 77216
    ____________________________________________________________________________

    Cypress-Fairbanks ISD
    __________________________________________________________________________________________________________________

    P.O. Box 203908
    ____________________________________________________________________________                                                             2
                                                                                                                                     Line 2. __                    4 ___
                                                                                                                                                                  ___ 2 ___
                                                                                                                                                                         0 ___
                                                                                                                                                                            3
    Houston, TX 77216
    ____________________________________________________________________________

    Harris County, et al
    __________________________________________________________________________________________________________________

    P.O. Box 3547
    ____________________________________________________________________________                                                             3
                                                                                                                                     Line 2. __                    9 ___
                                                                                                                                                                  ___ 3 ___
                                                                                                                                                                         6 ___
                                                                                                                                                                            1
    Houston, TX 77253
    ____________________________________________________________________________

    Harris County, et al
    __________________________________________________________________________________________________________________

    P.O.  Box 3547
    ____________________________________________________________________________                                                             4
                                                                                                                                     Line 2. __                    4 ___
                                                                                                                                                                  ___ 2 ___
                                                                                                                                                                         0 ___
                                                                                                                                                                            3
    Houston,   TX 77253
    ____________________________________________________________________________

    Navistas Credit Corp.
    __________________________________________________________________________________________________________________

    111 Executive Center Drive, Suite 102
    ____________________________________________________________________________                                                             6
                                                                                                                                     Line 2. __                    0 ___
                                                                                                                                                                  ___ 2 ___
                                                                                                                                                                         8 ___
                                                                                                                                                                            2
    Columbia, SC 29210
    ____________________________________________________________________________

    Texas Development Company
    __________________________________________________________________________________________________________________

    12121 FM 529
    ____________________________________________________________________________                                                             8
                                                                                                                                     Line 2. __                   ___ ___ ___ ___
    Houston, TX 77041
    ____________________________________________________________________________

    TWSCO/Praxair Distribution, Inc.
    __________________________________________________________________________________________________________________

    6455 Chimney Rock Road
    ____________________________________________________________________________                                                             9
                                                                                                                                     Line 2. __                    1 ___
                                                                                                                                                                  ___ 0 ___
                                                                                                                                                                         2 ___
                                                                                                                                                                            5
    Houston, TX 77081
    ____________________________________________________________________________

    TWSCO/Praxair Distribution, Inc.
    __________________________________________________________________________________________________________________

    5515  West Richey Road
    ____________________________________________________________________________                                                             9
                                                                                                                                     Line 2. __                    1 ___
                                                                                                                                                                  ___ 0 ___
                                                                                                                                                                         2 ___
                                                                                                                                                                            5
    Houston, TX 77066
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___   6
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                         Case17-30603
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                                                                                       65
  Fill in this information to identify the case:

  Debtor           Houston Plate Processing, Inc.
                  __________________________________________________________________

                                          Southern District of Texas
  United States Bankruptcy Court for the: _______________________________________

  Case number       ___________________________________________
   (If known)

                                                                                                                                                    Check if this is an
                                                                                                                                                      amended filing
Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
     
     X     Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
     3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                        Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address                       As of the petition filing date, the claim is: $______________________
                                                                                                                      Unknown                       Unknown
                                                                                                                                                   $_________________
     Texas Workforce Commission (Office of AG)
    __________________________________________________________________ Check all that apply.
     P.O. Box 12548
     ___________________________________________                              Contingent
                                                                              Unliquidated
     Austin, TX 78711
     ___________________________________________                              Disputed
     Date or dates debt was incurred                                        Basis for the claim:
     _________________________________
                                                                           Taxes and Other Government
                                                                           __________________________________
                                                                           Debts
     Last 4 digits of account                                              Is the claim subject to offset?
     number       0 ___
                 ___   1 ___
                          8 ___
                              2                                            X
                                                                                No
                                                                            Yes
     Specify Code subsection of PRIORITY unsecured
                                  8
     claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: $______________________   $_________________
      __________________________________________________________________   Check all that apply.
     ___________________________________________                              Contingent
                                                                              Unliquidated
     ___________________________________________                              Disputed
     Date or dates debt was incurred                                        Basis for the claim:
                                                                           __________________________________
     _________________________________

     Last 4 digits of account                                              Is the claim subject to offset?
     number      ___ ___ ___ ___                                            No
                                                                            Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: $______________________   $_________________
      __________________________________________________________________   Check all that apply.
     ___________________________________________                              Contingent
                                                                              Unliquidated
     ___________________________________________                              Disputed
     Date or dates debt was incurred                                        Basis for the claim:
                                                                           __________________________________
     _________________________________

     Last 4 digits of account                                              Is the claim subject to offset?
     number      ___ ___ ___ ___                                            No
                                                                            Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (_____)




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              Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 4 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            2,830.90
                                                                                                                           $________________________________
    A & B Crane Services, LLC
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    13601 FM 529 Road, Suite C
    ____________________________________________________________              Disputed
     Houston, TX 77041
    ____________________________________________________________
                                                                                                Business debt
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             1/23/2017
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           X
                                                                               No
    Last 4 digits of account number             4 ___
                                               ___ 3 ___
                                                      H ___
                                                         T                    Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AAA Flame Cut Steel, LLC
                                                                           Check all that apply.                            3,085.00
                                                                                                                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    P.O. Box 924947
    ____________________________________________________________              Disputed
    Houston, TX 77292
    ____________________________________________________________
                                                                                                Business debt
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            9/15/2016
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number             2 ___
                                               ___ 2 ___
                                                      1 ___
                                                         5                    Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            453.57
                                                                                                                           $________________________________
    Air Compressor Technologies
    ____________________________________________________________
                                                                              Contingent
    P.O. Box 925187                                                           Unliquidated
    ____________________________________________________________              Disputed
    Houston, TX 77292
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            11/22/2016
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number             6 ___
                                               ___ 2 ___
                                                      2 ___
                                                         3                    Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                            89,897.38
                                                                                                                           $________________________________
    American Alloy
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
    P.O. Box 40469
    ____________________________________________________________              Disputed
    Houston, TX 77240
    ____________________________________________________________
                                                                                                Business debt
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             12/2016
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number             1 ___
                                               ___ 0 ___
                                                      2 ___
                                                         4                    Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                            293,140.00
                                                                                                                           $________________________________
    Arca Funding/Midtown/Strategic Funding
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
    1222 Avenue M, Suite 406
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    Brooklyn, NY 11230
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                            21,569.08
                                                                                                                           $________________________________
    Best Networking Services, Inc.
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
    1147 Brittmoore Road, Suite 4
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    Houston, TX 77043
    ____________________________________________________________
                                                                                                Business debt
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            6/2/2016
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number             8 ___
                                               ___ 1 ___
                                                      5 ___
                                                         3                    Yes



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Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            1,474.82
                                                                                                                    $________________________________
     Briggs Equipment
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      10540  N  Stemmons     Freeway
     ___________________________________________________________       Liquidated and neither contingent nor
     Dallas, TX 75220
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         12/1/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          8 ___
                                             ___ 9 ___
                                                    3 ___
                                                       6               Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               57,337.13
                                                                                                                    $________________________________
     Chapel Steel Corporation
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      6605 N. Houston Rosslyn Road
     ___________________________________________________________  Disputed
      Houston, TX 77091
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          5 ___
                                             ___ 2 ___
                                                    6 ___
                                                       6               Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
     Corporation Service Company, as Representative
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      P.O. Box 2576
     ___________________________________________________________       Disputed
     Springfield, IL 62708
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  10 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     19,542.98
                                                                                                                    $________________________________
     Cyclone Steel
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      4950 W. Greens Road
     ___________________________________________________________       Disputed
     Houston, TX 77066
     ___________________________________________________________
                                                                                         Business Debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         9-10, 2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          0 ___
                                             ___ 9 ___
                                                    9 ___
                                                       1               Yes



  11 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                     22,906.97
                                                                                                                    $________________________________
     Delta Steel, Inc.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     7355 Roundhouse Lane
     ___________________________________________________________       Disputed
     Houston, TX 77078
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          5 ___
                                             ___ 6 ___
                                                    6 ___
                                                       9               Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  12 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            17,193.56
                                                                                                                    $________________________________
     Diamond G
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      11050  West   Little York, Bldg. G
     ___________________________________________________________       Liquidated and neither contingent nor
     Houston, TX 77041
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          5 ___
                                             ___ 0 ___
                                                    8 ___
                                                       6               Yes


  13 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               1,119.30
                                                                                                                    $________________________________
     Dun & Bradstreet
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      P.O. Box 75434
     ___________________________________________________________  Disputed
      Chicago, IL 60675
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/1/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          8 ___
                                             ___ 9 ___
                                                    0 ___
                                                       1               Yes


  14 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     725.00
                                                                                                                    $________________________________
     Eldred Sheet Metal Works, L.P.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      P.O. Box 8725
     ___________________________________________________________       Disputed
     Houston, TX 77249
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         7/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          2 ___
                                             ___ 5 ___
                                                    2 ___
                                                       2               Yes


  15 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     2,518.56
                                                                                                                    $________________________________
     EMT Expedited Logistics, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      15821 FM 529 Road, #170
     ___________________________________________________________       Disputed
     Houston, TX 77095
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         11-12-2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          0 ___
                                             ___ 4 ___
                                                    2 ___
                                                       8               Yes



  16 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                     746,677.49
                                                                                                                    $________________________________
     Estate of Vincent J. Vare (Jeff Carruth)
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     3030 Matlock Road, Suite 201
     ___________________________________________________________    
                                                                    X
                                                                        Disputed
     Arlington, TX 76015
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            1,023.62
                                                                                                                    $________________________________
     FedEx Freight
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      P.O. Box   10306,  Dept.  CH
     ___________________________________________________________       Liquidated and neither contingent nor
     Houston, TX 77206
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10-12/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          3 ___
                                             ___ 6 ___
                                                    0 ___
                                                       6               Yes


  18 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               1,490.00
                                                                                                                    $________________________________
     First Choice Brokerage, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      P.O. Box 96186
     ___________________________________________________________  Disputed
      Houston, TX 77213
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         8-11, 2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          0 ___
                                             ___ 2 ___
                                                    1 ___
                                                       7               Yes


  19 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     7,910.83
                                                                                                                    $________________________________
     Forklifts & Tires
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      14503 Sommermeyer Street
     ___________________________________________________________       Disputed
     Houston, TX 77041
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10-11,2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          8 ___
                                             ___ 3 ___
                                                    8 ___
                                                       1               Yes


  20 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     871.41
                                                                                                                    $________________________________
     Grainger
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      P.O. Box 419267, Dept. 884159054
     ___________________________________________________________       Disputed
     Kansas City, MO 64141
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         9/2/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          6 ___
                                             ___ 5 ___
                                                    9 ___
                                                       9               Yes



  21 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                     1,155.69
                                                                                                                    $________________________________
     IHS
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     15 Inverness Way East
     ___________________________________________________________       Disputed
     Englewood, CO 80112
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          7/20/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          1 ___
                                             ___ 0 ___
                                                    0 ___
                                                       1               Yes




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Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  22 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            29,309.00
                                                                                                                    $________________________________
     JackRabbit Steel Products
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      9009  Jackrabbit  Road
     ___________________________________________________________       Liquidated and neither contingent nor
     Houston, TX 77095
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         3-12,2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          1 ___
                                             ___ 0 ___
                                                    2 ___
                                                       6               Yes


  23 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               6,069.00
                                                                                                                    $________________________________
     Jacquet Houston, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      6707 Willow Brook Park
     ___________________________________________________________  Disputed
      Houston, TX 77066
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         2-3/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          8 ___
                                             ___ 1 ___
                                                    8 ___
                                                       5               Yes


  24 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     48,002.00
                                                                                                                    $________________________________
     Jeremiah E. Thompson
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      1726 Mayweather Lane
     ___________________________________________________________       Disputed
     Richmond, TX 77406
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  25 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     2,480.00
                                                                                                                    $________________________________
     Kimzey Software Solutions
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      230 N 1680 E Bldg. S
     ___________________________________________________________       Disputed
     St. George, UT 84790
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         4/1/16
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          0 ___
                                             ___ 6 ___
                                                    8 ___
                                                       9               Yes



  26 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                     18,338.98
                                                                                                                    $________________________________
     Leo Daian
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     12107 Via Porta Rosa
     ___________________________________________________________       Disputed
     Cypress, TX 77429
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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Debtor
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  27 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            10,359.32
                                                                                                                    $________________________________
     Mason Dixon Supply, Inc.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      7102  Meadow    Hawk    Court
     ___________________________________________________________       Liquidated and neither contingent nor
     Houston, TX 77041
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         8-12/16
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          7 ___
                                             ___ 8 ___
                                                    7 ___
                                                       2               Yes


  28 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               1,840.25
                                                                                                                    $________________________________
     McCune Electrical Services, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      6817 Flintlock, Suite D
     ___________________________________________________________  Disputed
      Houston, TX 77040
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         11/11/16
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          1 ___
                                             ___ 3 ___
                                                    8 ___
                                                       6               Yes


  29 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     7,525.00
                                                                                                                    $________________________________
     Momentum Freight Services
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      P.O. Box 24806
     ___________________________________________________________       Disputed
     Houston, TX 77229
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         8-11/16
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          5 ___
                                             ___ 3 ___
                                                    5 ___
                                                       0               Yes


  30 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     300.00
                                                                                                                    $________________________________
     NDT - PRO Services
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      6529 Cunningham Road, Suite 2001
     ___________________________________________________________       Disputed
     Houston, TX 77041
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         6/23/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          1 ___
                                             ___ 1 ___
                                                    6 ___
                                                       0               Yes



  31 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                     8,350.00
                                                                                                                    $________________________________
     Oiler Transport
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     16735 Innisbrook Drive
     ___________________________________________________________       Disputed
     Houston, TX 77095
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          6/23/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          6 ___
                                             ___ H ___
                                                    H ___
                                                       P               Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  32 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            2,749.10
                                                                                                                    $________________________________
     Ourco Supply Corporation
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      7413  Breen   Road
     ___________________________________________________________       Liquidated and neither contingent nor
     Houston, TX 77086
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         6/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          1 ___
                                             ___ 7 ___
                                                    2 ___
                                                       1               Yes


  33 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               3,160.00
                                                                                                                    $________________________________
     Patriot Freight Group, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      139 Cypresswood Drive, #202
     ___________________________________________________________  Disputed
      Spring , TX 77388
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10-12/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          2 ___
                                             ___ 5 ___
                                                    1 ___
                                                       1               Yes


  34 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
     Pendulum Finance
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      548 Market Street, #35697
     ___________________________________________________________       Disputed
     San Francisco, CA 94104
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  35 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     39,869.92
                                                                                                                    $________________________________
     Precise Steel
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      909 Marcella Street
     ___________________________________________________________       Disputed
     Houston, TX 77091
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         9-10/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          3 ___
                                             ___ 0 ___
                                                    9 ___
                                                       0               Yes



  36 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                     14,096.30
                                                                                                                    $________________________________
     Professional Welding Supply
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 19811
     ___________________________________________________________       Disputed
     Houston, TX 77224
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          9-12/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          8 ___
                                             ___ 9 ___
                                                    5 ___
                                                       2               Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  37 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            2,555.00
                                                                                                                    $________________________________
     Proserv Crane Group
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      P.O. Box   670965
     ___________________________________________________________       Liquidated and neither contingent nor
     Houston, TX 77267
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10-11/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          3 ___
                                             ___ 5 ___
                                                    2 ___
                                                       9               Yes


  38 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               42,043.35
                                                                                                                    $________________________________
     QuarterSpot Funding
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      2751 Prosperity Avenue, Suite 330
     ___________________________________________________________  Disputed
      Fairfax, VA 22031
     ___________________________________________________________
                                                                                         2 Loans
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         2&3/16
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          3 ___
                                             ___ 2 ___
                                                    7 ___
                                                       0               Yes


  39 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     117,311.78
                                                                                                                    $________________________________
     Ranger Steel
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      9640 Clinton Drive
     ___________________________________________________________       Disputed
     Houston, TX 77029
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         7-8/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          9 ___
                                             ___ 3 ___
                                                    1 ___
                                                       0               Yes


  40 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     17,542.00
                                                                                                                    $________________________________
     Russell Logistics, LLC
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      12245 FM 529 Road, Suite C
     ___________________________________________________________       Disputed
     Houston, TX 77041
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         8-12/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          9 ___
                                             ___ 2 ___
                                                    2 ___
                                                       8               Yes



  41 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                                                                     3,456.00
                                                                                                                    $________________________________
     Sigmatek Systems International
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     1445 Kempere Meadow Drive
     ___________________________________________________________       Disputed
     Cincinnati, OH 45240
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          3/9/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          4 ___
                                             ___ 1 ___
                                                    8 ___
                                                       1               Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  42 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            395.29
                                                                                                                    $________________________________
     Staples
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      P.O. Box   689020,   Dept. 51-7862437158
     ___________________________________________________________       Liquidated and neither contingent nor
     Des Moines, IA 50368
     ___________________________________________________________        disputed

                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10-11/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X
                                                                        No
     Last 4 digits of account number          3 ___
                                             ___ 7 ___
                                                    1 ___
                                                       5               Yes


  43 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.                               158,724.65
                                                                                                                    $________________________________
     Superior Supply
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
      5450 NW Central Drive, Suite 200
     ___________________________________________________________  Disputed
      Houston, TX 77092
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  44 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     77,297.28
                                                                                                                    $________________________________
     Triple S Steel Holdings, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      P.O. Box 21119
     ___________________________________________________________       Disputed
     Houston, TX 77226
     ___________________________________________________________
                                                                                         Bussiness debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10-12/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          9 ___
                                             ___ 2 ___
                                                    7 ___
                                                       0               Yes


  45 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     10,400.86
                                                                                                                    $________________________________
     Veracity Technical Services
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      P.O. Box 471288
     ___________________________________________________________       Disputed
     Tulsa, OK 74147
     ___________________________________________________________
                                                                                         Business debt
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         5-11/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          1 ___
                                             ___ 1 ___
                                                    6 ___
                                                       7               Yes



  46 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.      Texas Workforce Commission
         ___________________________________________________________________________________________________
                                                                                                                    2.1
                                                                                                               Line _____
          P.O. Box 149037
         _________________________________________________________________                                        Not listed. Explain ________________    0 ___
                                                                                                                                                          ___ 1 ___
                                                                                                                                                                 8 ___
                                                                                                                                                                    2
          Austin, TX 78714
         _________________________________________________________________                                         _________________________________

4.2.      Texas Workforce Commission
         ___________________________________________________________________________________________________
                                                                                                                    2.1
                                                                                                               Line _____
         19221 I-45 S., Suite 120
         _________________________________________________________________                                        Not listed. Explain ________________    0 ___
                                                                                                                                                          ___ 1 ___
                                                                                                                                                                 8 ___
                                                                                                                                                                    2
         Shenandoah, TX 77385
         _________________________________________________________________                                         _________________________________

4.3.      AAA Flame Cut Steel, LLC
         ___________________________________________________________________________________________________
                                                                                                                    3.2
                                                                                                               Line _____

          1015 Judiway Street
         _________________________________________________________________                                        Not listed. Explain ________________    2 ___
                                                                                                                                                          ___ 2 ___
                                                                                                                                                                 1 ___
                                                                                                                                                                    5
          Houston, TX 77018
         _________________________________________________________________                                         _________________________________

4.4.      Air Compressor Technologies
         ___________________________________________________________________________________________________
                                                                                                                    3.3
                                                                                                               Line _____

          3510 Oak Forest Drive
         _________________________________________________________________                                        Not listed. Explain ________________    6 ___
                                                                                                                                                          ___ 2 ___
                                                                                                                                                                 2 ___
                                                                                                                                                                    3
          Houston, TX 77018
         _________________________________________________________________                                         _________________________________

4.5.      American Alloy
         ___________________________________________________________________________________________________
                                                                                                                     3.4
                                                                                                               Line _____

          6230 North Houston-Rosslyn Road
         _________________________________________________________________                                        Not listed. Explain ________________    1 ___
                                                                                                                                                          ___ 0 ___
                                                                                                                                                                 2 ___
                                                                                                                                                                    4
          Houston, TX 77091
         _________________________________________________________________                                         _________________________________

4.6.      Arca Funding/Midtown/Strategic Funding
         ___________________________________________________________________________________________________
                                                                                                                     3.5
                                                                                                               Line _____
          2500 Discovery Blvd.
         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

          Rockwall, TX 75032
         _________________________________________________________________                                         _________________________________

4.7.      Chapel Steel Corporation
         ___________________________________________________________________________________________________
                                                                                                                    3.8
                                                                                                               Line _____
          590 North Bethleham Pike
         _________________________________________________________________                                        Not listed. Explain ________________    5 ___
                                                                                                                                                          ___ 2 ___
                                                                                                                                                                 6 ___
                                                                                                                                                                    6
          Maple Glen, PA 19002
         _________________________________________________________________                                         _________________________________

4.8.      Estate of Vincent J. Vare (M. Gasiorowski)
         ___________________________________________________________________________________________________
                                                                                                                    3.16
                                                                                                               Line _____
          1400 Summit Tower, 11 Greenway Plaza
         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

          Houston, TX 77046
         _________________________________________________________________                                         _________________________________

4.9.      Grainger                                                                                                  3.20
                                                                                                               Line _____
         ___________________________________________________________________________________________________

          4300  Old Airways Blvd.
         _________________________________________________________________                                        Not listed. Explain ________________    6 ___
                                                                                                                                                          ___ 5 ___
                                                                                                                                                                 9 ___
                                                                                                                                                                    9
          Southaven, MS 38671
         _________________________________________________________________                                         _________________________________

4.10.     Kimzey Software Solutions                                                                                  3.25
                                                                                                               Line _____
         ___________________________________________________________________________________________________

          55 N. 300 W., Suite C
         _________________________________________________________________                                        Not listed. Explain ________________    0 ___
                                                                                                                                                          ___ 6 ___
                                                                                                                                                                 8 ___
                                                                                                                                                                    9
          St. George, UT 84770
         _________________________________________________________________                                         _________________________________

4.11.     Ourco Supply Corporation
         ___________________________________________________________________________________________________
                                                                                                                    3.32
                                                                                                               Line _____

          P.O. Box 40937
         _________________________________________________________________                                        Not listed. Explain ________________    1 ___
                                                                                                                                                          ___ 7 ___
                                                                                                                                                                 2 ___
                                                                                                                                                                    1
          Houston, TX 77240
         _________________________________________________________________                                         _________________________________

4.12.
                                                                                                                    3.38
                                                                                                               Line _____
          QuaraterSpot Funding
         ___________________________________________________________________________________________________
                                                                                                                                                           3 ___
                                                                                                                                                              2 ___
                                                                                                                                                                 7 ___
                                                                                                                                                                    0
          333 7th Avenue, Suite 1402
                                                                                                                  Not listed. Explain ________________   ___
         _________________________________________________________________
                                                                                                                   _________________________________
          New York, NY 10001
         _________________________________________________________________




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 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                             related creditor (if any) listed?          account number,
                                                                                                                                                        if any
  13                                                                                                              3.39
                                                                                                             Line _____
4.__    Ranger Steel
       ___________________________________________________________________________________________________

       1225  N. Loop W., Suite 650
       _________________________________________________________________                                        Not listed. Explain ________________    9 ___
                                                                                                                                                        ___ 3 ___
                                                                                                                                                               1 ___
                                                                                                                                                                  0
        Houston, TX 77008
       _________________________________________________________________                                         _________________________________

  14                                                                                                               3.39
4.__    Ranger Steel
       ___________________________________________________________________________________________________
                                                                                                             Line _____
        P.O. Box 4346, Dept. 451
       _________________________________________________________________                                        Not listed. Explain ________________    9 ___
                                                                                                                                                        ___ 3 ___
                                                                                                                                                               1 ___
                                                                                                                                                                  0
        Houston, TX 77210
       _________________________________________________________________                                         _________________________________

  15                                                                                                               3.44
4.__    Triple S Steel Holdings, Inc.
       ___________________________________________________________________________________________________
                                                                                                             Line _____
        6000  Jensen Drive
       _________________________________________________________________                                        Not listed. Explain ________________    9 ___
                                                                                                                                                        ___ 2 ___
                                                                                                                                                               7 ___
                                                                                                                                                                  0
        Houston, TX 77026
       _________________________________________________________________                                         _________________________________

  16                                                                                                               3.44
                                                                                                             Line _____
4.__    Triple S Steel Holdings, Inc.
       ___________________________________________________________________________________________________

       11310 W. Little York Road
       _________________________________________________________________                                        Not listed. Explain ________________    9 ___
                                                                                                                                                        ___ 2 ___
                                                                                                                                                               7 ___
                                                                                                                                                                  0
        Houston, TX 77041
       _________________________________________________________________                                         _________________________________

  17
4.__    Veracity Technical Services                                                                                3.45
                                                                                                             Line _____
       ___________________________________________________________________________________________________

        P.O. Box 667
       _________________________________________________________________                                        Not listed. Explain ________________    1 ___
                                                                                                                                                        ___ 1 ___
                                                                                                                                                               6 ___
                                                                                                                                                                  7
        Kellyville, OK 74039
       _________________________________________________________________                                         _________________________________

  18
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  19
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  20
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  21
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  22
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  23
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  24
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  25
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

  26
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




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                                                                                                                                                                    1 of ___
Debtor
                    Case17-30603
                    Case 17-30603 Document
                                  Document96
             Houston Plate Processing, Inc.1 Filed
                                             FiledininTXSB
                                                      TXSBon  02/02/17
                                                           onCase
                                                               01/15/18
             _______________________________________________________
                                                                                 Page
                                                                                   Page35  65ofof7165
                                                                  number (if known)_____________________________________
             Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                          Total of claim amounts



5a. Total claims from Part 1                                                                5a.            0.00
                                                                                                          $_____________________________




5b. Total claims from Part 2                                                                5b.       +    1,915,098.37
                                                                                                          $_____________________________




5c. Total of Parts 1 and 2
                                                                                                5c.        1,915,098.37
                                                                                                          $_____________________________
    Lines 5a + 5b = 5c.




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                                                                                                                                        1 of ___
